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                       EXHIBIT A

                Bidding Procedures Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                               Debtors.                     (Jointly Administered)

                                                            Ref. Docket No __
                   ORDER (I) (A) APPROVING BIDDING
                PROCEDURES FOR THE SALE OF ALL OR
      SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS, (B) SCHEDULING
       AN AUCTION AND A SALE HEARING AND APPROVING THE FORM
     AND MANNER OF NOTICE THEREOF, (C) APPROVING ASSUMPTION
    AND ASSIGNMENT PROCEDURES, AND (D) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”) 2 of the debtors and debtors in possession in the above-

captioned cases (collectively, the “Debtors”) for entry of an order (this “Order”) (I) (a) authorizing


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     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion,
     the Bidding Procedures, the Restructuring Support Agreement, or the First Day Declaration, as applicable.
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and approving the bidding procedures attached hereto as Exhibit 1 (the “Bidding Procedures”) for

the sale of all or substantially all of the Debtors’ Assets, (b) scheduling an Auction and a Sale

Hearing and approving the form and manner of notice of the Auction, the Sale, and the Sale

Hearing (the “Sale Hearing Notice”), (c) establishing procedures for the assumption and

assignment of Contracts and approving the form and manner of notice (the “Assumption and

Assignment Notice”) to each relevant non-debtor counterparty to a Contract of (i) the Debtors’

calculation of the amount necessary to cure any defaults under an applicable Contract (the “Cure

Costs”) and (ii) certain other information regarding the potential assumption and assignment of

Contracts in connection with the Sale, and (d) granting related relief, and (II) (a) approving the

sale of the Debtors’ assets free and clear of liens, claims, interests, and encumbrances,

(b) approving the assumption and assignment of executory contracts and unexpired leases, and

(c) granting related relief; and upon the Declaration of David Orlofsky in Support of Debtors’

Chapter 11 Petitions and First Day Pleadings; and upon the Declaration in further support of the

Motion; and upon the record of the hearing of the Motion; and the Court having jurisdiction to

consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and

consideration of the Motion and the relief requested therein being a core proceeding pursuant to

28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; and notice of the Motion having been adequate and appropriate under the circumstances;

and it appearing that the relief requested is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and after due deliberation and sufficient cause appearing

therefor,




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       THE COURT FINDS THAT:

       A.      The findings and conclusions set forth herein constitute the Court’s findings of fact

and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding

pursuant to Bankruptcy Rule 9014. To the extent that any of the following findings of fact

constitute conclusions of law, they are adopted as such. To the extent any of the following

conclusions of law constitute findings of fact, they are adopted as such.

       B.      Good and sufficient notice of the Motion, the Bidding Procedures, and the relief

sought in the Motion has been given under the circumstances, and no other or further notice is

required except as set forth herein. A reasonable opportunity to object or be heard regarding the

relief provided herein has been afforded to parties in interest.

       C.      The bases for the relief requested in the Motion are: (i) sections 105, 363, and 365

of the Bankruptcy Code; (ii) Bankruptcy Rules 2002(a)(2), 6004, 6006, 9007, and 9014; and

(iii) Local Rule 6004-1.

       D.      The Debtors have articulated good and sufficient reasons for this Court to:

(i) approve the Bidding Procedures; (ii) as applicable, schedule the Auction and Sale Hearing (to

consider granting the other relief requested in the Motion); (iii) approve the forms and manner of

the Sale Hearing Notice, the Auction of the Assets (if any), and the Sale Hearing; and (iv) approve

the procedures for the assumption and assignment of the Contracts, including the Assumption and

Assignment Notice of proposed Cure Costs to each relevant counterparty to a Contract and certain

other information regarding the potential assumption and assignment of Assigned Contracts in

connection with the Sale of the Assets. The best interests of the Debtors, their estates, creditors,

and other parties in interest will be served by such approval and authorization.




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       E.      The Bidding Procedures are fair, appropriate, and reasonably designed to promote

active bidding at and participation in the Auction (if held) to ensure that the highest or otherwise

best value is generated for the Assets. The Bidding Procedures are designed to continue the

Debtors’ robust and extensive marketing and sale process during these Chapter 11 Cases following

entry of this Order in order to solicit the highest or otherwise best value for the Assets. The Bidding

Procedures represent the best method for maximizing the realizable value of the Assets for the

benefit of the Debtors’ estates.

       F.      The Sale Hearing Notice, substantially in the form attached hereto as Exhibit 2, is

appropriate and reasonably calculated to provide all interested parties with timely and proper

notice of the proposed Sale, including, without limitation: (i) the date, time, and place of the

Auction (if held); (ii) the Bidding Procedures; (iii) the deadline for filing objections to the Sale

and entry of the Sale Order, and the date, time, and place of the Sale Hearing; and (iv) a general

description of the Sale as being free and clear of liens, claims, encumbrances, and other interests,

with all such liens, claims, encumbrances, and other interests attaching with the same validity and

priority to the Sale proceeds. No other or further notice of the Sale shall be required.

       G.      The Assumption and Assignment Notice, substantially in the form attached hereto

as Exhibit 3, is appropriate and reasonably calculated to provide all interested parties with timely

and proper notice of the list of executory contracts and unexpired leases that may be assumed by

the Debtors and assigned to the Qualified Bidder(s) (as defined in the Bidding Procedures) that

submit the Successful Bid (such Qualified Bidder, the “Successful Bidder”) (if any), including

with respect to Cure Costs. No other or further notice of the Assumption and Assignment of the

Assigned Contracts shall be required.




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        H.      The Assumption and Assignment Procedures set forth herein are fair, reasonable,

appropriate, and comply with the provisions of section 365 of the Bankruptcy Code and

Bankruptcy Rule 6006.

        I.      The Motion and this Order are reasonable and appropriate, and the Bidding

Procedures comply with the requirements set forth by Local Rule 6004-(1)(c).

        J.      The legal and factual bases set forth in the Motion establish just cause for the relief

granted herein. Entry of this Order is in the best interests of the Debtors and their estates, creditors,

interest holders, and all other parties in interest.

        IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled as announced to the Court at the hearing on the Motion or by stipulation filed

with the Court, are hereby overruled.

I.      Important Dates and Deadlines.

        3.      The Debtors are authorized to proceed with the Sale in accordance with the Bidding

Procedures and are authorized to take any and all actions necessary or appropriate to implement

the Bidding Procedures (subject to the terms thereof) in accordance with the following timeline:

                     Deadline                                                 Event
 December 11, 2024                                         Entry of Bidding Procedures Order

 As soon as practicable after entry of the Deadline for Debtors to publish Sale Hearing
 Bidding Procedures Order                  Notice

 Two Business Days after the entry of the Deadline for Debtors to file and serve Sale
 Bidding Procedures Order, or as soon as Hearing Notice
 practicable thereafter




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                 Deadline                                              Event
4:00 p.m. (ET) on the date that is fourteen Sale Objection Deadline
(14) days after service of the Sale Hearing
Notice

December 16, 2024 at 5:00 p.m. (ET)               Deadline for Acceptable Bidders to submit
                                                  non-binding Indications of Interest

December 20, 2024                                 Deadline to file and serve Assumption and
                                                  Assignment Notice

4:00 p.m. (ET) on the date that is fourteen Deadline to object to the Assumption and
(14) days after service of the Assumption Assignment Notice
and Assignment Notice

January 23, 2025 at 5:00 p.m. (ET)                Bid Deadline

No later than 48 hours prior to Auction, if Deadline to Designate Qualified Bidders
applicable

Twenty-four     (24)     hours following Deadline to object to adequate assurance of
publication of the Notice of Successful future performance under Assigned Contracts
Bidder, if no Auction is held            (if any)

January 28, 2025 at 10:00 a.m. (ET)               Auction, solely in the event the Debtors
                                                  receive more than one Qualified Bid prior to or
                                                  at the Bid Deadline that constitutes a Sufficient
                                                  Bid

As soon as practicable after the Auction, if Deadline for Debtors to file and serve Notice
applicable                                   of Successful Bidder

January 30, 2025 at 4:00 p.m. (ET), if an Deadline to object to (i) conduct at Auction (if
Auction is held                           any) and (ii) adequate assurance of future
                                          performance under Assigned Contracts (if
                                          any)

January 28, 2025, at 5:00 p.m. (ET), if no Deadline to Reply to Sale Objections
Auction is held

February 2, 2025, at 12:00 p.m. (ET), if an
Auction is held




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                     Deadline                                            Event
 January 30, 2025 at [●] a.m./p.m. (ET), Sale Hearing, if no Auction is held
 subject to the availability of the Court

 February 3, 2025 at [●] a.m./p.m. (ET), Sale Hearing, if an Auction is held
 subject to the availability of the Court


II.     Bidding Procedures and Related Relief

        4.      The Bidding Procedures, substantially in the form attached hereto as Exhibit 1, are

hereby approved in their entirety, are incorporated herein by reference, and shall govern the

submission, receipt, and analysis of all Bids and the proceedings related to the Sale of the Assets

and the Auction (if any). Any party desiring to bid on the Assets or a portion thereof shall comply

with the Bidding Procedures and this Order in all respects. The Debtors are authorized to take any

and all actions necessary to implement the Bidding Procedures (subject in all respects to the terms

thereof).

        5.      The procedures and requirements set forth in the Bidding Procedures, including

those associated with submitting a “Qualified Bid,” are fair, reasonable, and appropriate, and are

designed to maximize recoveries for the benefit of the Debtors’ estates, creditors, and other parties

in interest. The Debtors are authorized to take all actions necessary or appropriate to implement

the Bidding Procedures.

        6.      The failure to specifically include or reference any particular provision of the

Bidding Procedures in the Motion or this Order shall not diminish or otherwise impair the

effectiveness of any such provision, it being the Court’s intent that the Bidding Procedures are

approved in their entirety, as if fully set forth in this Order.

        7.      In connection with any Sale pursuant to the Bidding Procedures, until the Bid

Deadline, any Acceptable Bidder (i) holding a valid and perfected security interest in any of the



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Assets and (ii) having the right under applicable non-bankruptcy law to credit bid claims secured

by such security interest (any such Acceptable Bidder satisfying clauses (i) and (ii), a “Secured

Party”), may seek to credit bid any portion and up to the full amount of the value of such Secured

Party’s claims with respect to any individual Asset, portion of the Assets, or all Assets, in each

case constituting such Secured Party’s collateral by which such claims are secured (the “Credit

Bid Right” and, such bid, the “Credit Bid”); provided, however, that, notwithstanding anything in

the Bidding Procedures to the contrary, the Senior Secured Lenders (including any agent or other

representative for any of the Senior Secured Lenders) shall not be required to elect to exercise their

Credit Bid Right and submit a Credit Bid until the time that is the later of (x) twenty-four (24)

hours prior to the commencement of the Auction (if held) and (y) twenty-four (24) hours after the

Debtors designate Qualified Bidders.

       8.      A “Secured Party” shall be deemed to include any of the Senior Secured Lenders

(including any agent or other representative for any of the Senior Secured Lenders) with respect

to the full amount of the Senior Secured Claims.

       9.      If a Credit Bid is submitted by, or on behalf of, the Senior Secured Lenders, (a) such

Credit Bid shall be deemed a Qualified Bid in all respects and notwithstanding the fact that such

Credit Bid might not satisfy some or all of the requirements or conditions for a Bid to constitute a

Qualified Bid, (b) the Senior Secured Lenders and/or the person or entity submitting the Credit

Bid on their behalf (including any agent or other representative for the Senior Secured Lenders)

shall be deemed a Qualified Bidder, (c) the Senior Secured Lenders and/or the person or entity

submitting the Credit Bid on their behalf (including any agent or other representative for the Senior

Secured Lenders) shall not be required to provide a deposit, and (d) the value of the Senior Secured

Claims that are the subject of such Credit Bid shall be the full face value of such Claims.




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       10.     Any Bid submitted by, or on behalf of, the Senior Secured Lenders (including any

Bid submitted by any agent or other representative for the Senior Secured Lenders) need only be

a written notice that specifies (either specifically or generally) the amount of the Senior Secured

Claims that are the subject of such Bid.

       11.     Upon consummation of a Sale pursuant to the exercise of the Credit Bid Right, the

applicable Secured Party shall not be required to take title to or ownership of, or have any

obligation in connection with (in each case, legal, equitable, or otherwise), or be deemed to have

taken title to or ownership of, or have any obligation in connection with (in each case, legal,

equitable, or otherwise), any individual Asset, portion of the Assets, or all of the Assets, and such

Secured Party shall have the right to designate any person or entity that shall take title to the

individual Asset, portion of the Assets, or all of the Assets that are subject to the Credit Bid Right.

       12.     For the avoidance of doubt, and notwithstanding anything to the contrary herein or

in the Bidding Procedures, the Credit Bid Right shall be subject in all respects to any conditions

or limitations on such right set forth in the operating Financing Order and section 363(k) of the

Bankruptcy Code.

       13.     Acceptable Bidders shall have until 5:00 p.m. (prevailing Eastern Time) on

December 16, 2024 to submit non-binding indications of interests of the Debtors’ Assets.

       14.     The deadline by which all Bids for all or any portion of the Debtors’ Assets must

be actually received by the parties specified in the Bidding Procedures is 5:00 p.m. (prevailing

Eastern Time) on January 23, 2025 (the “Bid Deadline”); provided, however, that the Senior

Secured Lenders shall not be required to elect to exercise their Credit Bid Right and submit a

Credit Bid until the time that is the later of (x) twenty-four (24) hours prior to the commencement




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of the Auction (if held) and (y) twenty-four (24) hours after the Debtors designate Qualified

Bidders (as defined below).

       15.     No Bid shall seek to entitle such Acceptable Bidder to any right to receive a break-

up fee, topping fee, termination fee or similar type of payment, any compensation, or any expense

reimbursement, and the Acceptable Bidder shall waive the right to pursue any administrative

expense claim (including under a theory of substantial contribution) under section 503(b) of the

Bankruptcy Code related in any way to the submission of such Bid or participation in any Auction.

III.   Auction.

       16.     If the Debtors receive more than one Sufficient Bid at least forty-eight (48) hours

prior to the date of the Auction and decide to hold an Auction, the Auction will take place on

January 28, 2025 at 10:00 a.m. (prevailing Eastern Time), or such later time as the Debtors

shall notify all Qualified Bidders who have submitted Qualified Bids. No later than forty-

eight (48) hours prior to the commencement of the Auction (if held), the Debtors shall (i) notify

each Acceptable Bidder whether such party is a Qualified Bidder, (ii) notify all Qualified Bidders

and the Consultation Parties of the opening Qualified Bid at the Auction, and (iii) provide copies

of the Asset Sale Bid Documents supporting the Minimum Bid to all Qualified Bidders. Such

Auction, if held, will be held either (x) via a virtual meeting, (y) at the offices of proposed co-

counsel to the Debtors, Willkie Farr & Gallagher LLP, 787 Seventh Avenue, New York, New

York 10019, or (z) at such later date, time, and location as designated by the Debtors, after

providing notice to the Notice Parties and the Consultation Parties. The Debtors shall file a notice

identifying the Successful Bidder and Backup Bidder (if selected) as soon as reasonably

practicable after closing the Auction, if any, and in any event not more than twenty-four (24) hours

following closing the Auction.




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        17.     If the Debtors do not receive any Sufficient Bids or only receive one Sufficient Bid,

the Debtors shall file with the Court, serve on the Sale Hearing Notice Parties (as defined below),

and cause to be published on the website maintained by Kroll Restructuring Administration LLC,

the Debtors’ claims and noticing agent in these Chapter 11 Cases, located at

https://cases.ra.kroll.com/FRG (the “Case Website”), a notice containing the following

information (as applicable): (a) a statement that the Auction has been canceled; (b) if there is a

Successful Bidder, the identity of the Successful Bidder; (c) if there is a Successful Bidder, a copy

of the Successful Bid or a summary of the material terms of such Bid, including any assumption

and assignment of Contracts contemplated thereby, or instructions for accessing the Successful

Bid free of charge from the Case Website; and (d) the date, time, and location of the Sale Hearing.

        18.     Pursuant to Local Rule 6004-1(c)(ii): if an Auction is held, as set forth in the

Bidding Procedures (a) each bidder participating at the Auction shall be required to confirm on the

record and in writing that it has not engaged in any collusion with respect to the submission of any

Bid or the Auction; (b) the Auction shall be conducted openly and all creditors will be permitted

to attend (but, unless such creditor is a Qualified Bidder, not participate in) the Auction; and (c) the

Auction shall be transcribed by a court reporter or videotaped.

        19.     Between the date that the Debtors notify an Acceptable Bidder that it is a Qualified

Bidder and the Auction (if held), the Debtors will evaluate all Bids that are timely submitted by

the Bid Deadline and, as the Debtors deem appropriate in the exercise of their reasonable judgment,

may discuss, negotiate, or seek clarification of any Qualified Bid from a Qualified Bidder.

        20.     The Debtors may, in their reasonable business judgment, in consultation with the

Consultation Parties, (a) determine which Acceptable Bidders are Qualified Bidders; (b) determine

which Bids are Qualified Bids (other than any Credit Bid submitted by, or on behalf of, the Senior




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Secured Lenders, which shall automatically be deemed a Qualified Bid); (c) determine, consistent

with the Bidding Procedures, the Successful Bid and the Backup Bid, if any; (d) reject, in

consultation with the Consultation Parties, at any time before entry of an order of this Court

approving a Qualified Bid, any Bid (other than a Bid submitted by, or on behalf of, the Senior

Secured Lenders) that the Debtors determine is (i) inadequate or insufficient, (ii) not in conformity

with the requirements of the Bankruptcy Code, the Bidding Procedures, or the terms and conditions

of the Sale, or (iii) contrary to the best interests of the Debtors, their estates, their creditors, and

other stakeholders; and (e) except as otherwise set forth in the Bidding Procedures, modify, in their

reasonable business judgment, after consultation with the Consultation Parties, and subject to the

Restructuring Support Agreement, the Bidding Procedures in good faith and in a manner consistent

with the Debtors’ fiduciary duties to further the goal of attaining the highest or otherwise best offer

for the Assets or impose, at or prior to the selection of any Successful Bidder, additional customary

terms and conditions on the Sale, including: (1) extending the dates and deadlines set forth in the

Bidding Procedures; (2) adjourning the Auction (if held) without further notice; (3) adding or

modifying procedural rules that are reasonably necessary or advisable under the circumstances for

conducting the Auction, and/or adjourning the Sale Hearing in open court (if held); (4) rejecting

any or all Bids or Qualified Bids; (5) adjusting the applicable minimum Overbid increment; and

(6) selecting a draft purchase agreement agreed to by a Qualified Bidder in connection with a

Qualified Bid to serve as the purchase agreement that will be executed by the Successful Bidder

or Successful Bidders, as applicable and with any necessary adjustments for the Assets and

Liabilities being purchased and assumed, upon conclusion of the Auction, if held.

IV.     The Sale Hearing.

        21.     The form of the Sale Hearing Notice attached to this Order as Exhibit 2 is approved.

Within two (2) Business Days after entry of this Order, or as soon as reasonably practicable


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thereafter, the Debtors shall serve the Sale Hearing Notice on the following parties (or their

respective counsel, if known) by first class mail or email: (a) the Notice Parties; (b) all parties to

executory contracts and unexpired leases proposed to be assumed, assigned, or rejected as part of

the proposed Sale; (c) all parties who have expressed a written interest in some or all of the Assets

within six (6) months prior to entry of the Bidding Procedures Order; (d) all known holders of

liens, encumbrances, and other claims secured by the Assets; (e) the Internal Revenue Service;

(f) all applicable state and local taxing authorities; (g) each governmental agency that is an

interested party with respect to the Sale and transactions proposed thereunder; and (h) all parties

that have requested or that are required to receive notice pursuant to Bankruptcy Rule 2002

(collectively, the “Sale Hearing Notice Parties”).

       22.     As soon as reasonably practicable after entry of this Order, the Debtors shall publish

the Sale Hearing Notice in The New York Times (national edition), or similar nationally circulated

publications, and on the Case Website.

       23.     Objections, if any, to the Sale (each, a “Sale Objection”) must be made no later than

4:00 p.m. (prevailing Eastern Time) on the date that is fourteen (14) days after service of the Sale

Hearing Notice (the “Sale Objection Deadline”). Objections must: (a) be in writing and specify

the nature of such objection; (b) conform to the applicable provisions of the Bankruptcy Code,

Bankruptcy Rules, and the Local Rules; (c) state with particularity the legal and factual basis for

the objection and the specific grounds therefor; and (d) be filed with the Court and served so as to

be actually received no later than the Sale Objection Deadline by the following parties (the

“Objection Notice Parties”):

          Co-Counsel to the Debtors                          Co-Counsel to the Debtors

         Willkie Farr & Gallagher LLP                  Young Conaway Stargatt & Taylor, LLP
             787 Seventh Avenue                                  Rodney Square


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             New York, NY 10019                                1000 North King Street
         Attn.: Debra M. Sinclair, Esq.                        Wilmington, DE 19801
          Matthew A. Feldman, Esq.                          Attn.: Edmon L. Morton, Esq.
             Betsy Feldman, Esq.                               Matthew B. Lunn, Esq.
            Joseph R. Brandt, Esq.                             Allison S. Mielke, Esq.
                                                             Shella Borovinskaya, Esq.

     Counsel to the DIP Lenders and the                      The United States Trustee
       Prepetition First Lien Holders

              Paul Hastings LLP                         Office of the United States Trustee
                200 Park Avenue                             for the District of Delaware
          New York, New York 10166                    844 King Street, Suite 2207, Lockbox 35
          Attn: Jayme Goldstein, Esq.                      Wilmington, Delaware 19801
              Jeremy Evans, Esq.                            Attn.: Timothy J. Fox, Esq.
               Isaac Sasson, Esq.

                       and

           Landis Rath & Cobb LLP
        919 N. Market Street Suite 1800,
            Wilmington, DE 19317
          Attn: Adam G. Landis, Esq.
            Matthew McGuire, Esq.

                                    Counsel to the Committee




       24.     If an Auction is held, all parties-in-interest shall have an opportunity to object to

the conduct of the Auction and counterparties to Assigned Contracts shall have an opportunity to

object to the adequate assurance of future performance under Assigned Contracts (if any). Any

such objection must (i) be in writing and state, with specificity, the legal and factual bases thereof

and include any appropriate documentation in support thereof; and (ii) be filed with the Court and

served on the Objection Notice Parties by no later than 4:00 p.m. on January 30, 2025 (prevailing

Eastern Time).




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       25.     If no Auction is held, but a Successful Bidder is named, all counterparties to

Assigned Contracts shall have an opportunity to object to the adequate assurance of future

performance under Assigned Contracts (if any). Any such objection must (i) be in writing and

state, with specificity, the legal and factual bases thereof and include any appropriate

documentation in support thereof; and (ii) be filed with the Court and served on the Objection

Notice Parties by no later than twenty-four (24) hours following publication of the Notice of

Successful Bidder.

       26.     Any party wishing to do so shall file a reply to any Sale Objections (as defined

herein) by no later than 5:00 p.m. (prevailing Eastern Time) on January 28, 2025, if no Auction

is held, or 12:00 p.m. (prevailing Eastern Time) on February 2, 2025, if an Auction is held.

Subject to the availability of the Court, the Sale Hearing shall take place on January 30, 2025 at

[●] a.m./p.m. (prevailing Eastern Time), if no Auction is held, or on February 3, 2025, at [●]

a.m./p.m. (prevailing Eastern Time), if an Auction is held.

       27.     Any party failing to timely file a Sale Objection or an objection to the conduct of

the Auction or adequate assurance of future performance under Assigned Contracts shall be forever

barred from objecting and shall be deemed to have consented to each Sale, including the transfer

of the Debtors’ right, title, and interest in, to, and under the purchased Assets free and clear of any

and all liens, claims, interests, and encumbrances in accordance with the Successful Bidder’s

purchase agreement.

       28.     The Sale Hearing may be adjourned by the Debtors, in consultation with the

Consultation Parties and in accordance with the Bidding Procedures, from time to time without

further notice to creditors or parties in interest other than by announcement of the adjournment in

open court on the date scheduled for the Sale Hearing (if held).




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V.     Assumption and Assignment Procedures.

       29.     The procedures set forth below regarding the assumption and assignment of the

Contracts (each, an “Assigned Contract,” and, collectively, the “Assigned Contracts”) that may be

assumed by the Debtors pursuant to section 365(b) of the Bankruptcy Code and assigned to a

Successful Bidder (if any) in connection with the Sale contemplated by such Successful Bidder’s

Successful Bid, subject to revision prior to the date of the Sale closing (the “Sale Closing”) and

pursuant to section 365(f) of the Bankruptcy Code in connection with the Sale (the “Assumption

and Assignment Procedures”) are hereby approved to the extent set forth herein and shall govern

the potential assumption and assignment of all of the Debtors’ Assigned Contracts that may be

assumed and assigned in connection with the Sale, subject to the payment of any amounts

necessary to cure any defaults arising under any Assigned Contract (the “Cure Costs”):

               (a)    Assumption and Assignment Notice. The form of the Assumption and
                      Assignment Notice attached to this Order as Exhibit 3 is approved. By
                      December 20, 2024 (the “Assumption and Assignment Service Deadline”),
                      the Debtors shall serve the Assumption and Assignment Notice by first class
                      mail or email on each counterparty to the Contracts (or their respective
                      counsel, if known) that may be assumed by the Debtors and assigned to a
                      Successful Bidder (if any) in connection with the Sale contemplated by such
                      Successful Bidder’s Successful Bid. The Assumption and Assignment
                      Notice shall inform each recipient of (i) the timing and procedures relating
                      to such assumption and assignment, (ii) the title (or an appropriate
                      description) and date of the Contract (if available), (iii) the name of the non-
                      Debtor counterparty to the Contract, (iv) the Debtors’ good faith estimates
                      of the Cure Costs (if any) required in connection with the Contract, and
                      (v) the Cure Objection Deadline; provided, however, that service of an
                      Assumption and Assignment Notice does not constitute an admission that
                      such Contract is an executory contract and/or unexpired lease or that any
                      stated Cure Cost constitutes a claim against the Debtors or any Successful
                      Bidder, and all rights with respect thereto are expressly reserved. Further,
                      the inclusion of a Contract on the Assumption and Assignment Notice is not
                      a guarantee that such Contract will ultimately be assumed and assigned.
                      Any determination of whether such Contract is an executory contract or can
                      be rejected will be made in accordance with the Bankruptcy Code, the
                      Bankruptcy Rules, and all applicable orders of this Court.




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  (b)   Cure Costs. The payment of the applicable Cure Costs shall (i) effectuate
        a cure of all defaults existing under the applicable Assigned Contracts,
        (ii) compensate for any actual pecuniary loss to such counterparty resulting
        from such default, and (iii) together with the assumption of the Assigned
        Contracts by the Debtors and the assignment of the Assigned Contracts to
        the Successful Bidder, as applicable, constitute adequate assurance of future
        performance thereof. If an Auction is held, objections to adequate assurance
        of future performance of the Assigned Contracts by the Successful Bidder
        (if any) must be filed with the Court and served on the Objection Notice
        Parties no later than (x) January 30, 2025 at 4:00 p.m. (ET), if an Auction
        is held, and (y) twenty-four (24) hours following publication of the Notice
        of Successful Bidder, if no Auction is held.

  (c)   Supplemental Assumption and Assignment Notice. To the extent the
        Debtors, at any time after the Assumption and Assignment Service Deadline
        (i) identify additional Contracts that may be assumed and assigned to the
        Successful Bidder, if any (the “Additional Contracts”), (ii) remove
        Contracts from the list of Contracts that may be assumed and assigned in
        connection with a Sale, and/or (iii) modify the previously stated Cure Cost
        associated with any Contract, the Debtors will promptly file with this Court
        and serve by first-class mail or email a supplemental notice of contract
        assumption (a “Supplemental Assumption Notice”) on each of the
        counterparties to such Contracts and their counsel of record, if any. Each
        Supplemental Assumption Notice will include the same information with
        respect to the listed Contracts as was included in the Assumption and
        Assignment Notice. The Successful Bidder (if any, and including any
        Backup Bidder ultimately named a Successful Bidder) may, pursuant to the
        terms of the asset purchase agreement executed with the Debtors, designate
        Additional Contracts as Assigned Contracts to be assumed and assigned at
        any time until five (5) Business Days prior to the Sale Closing, and may
        remove Assigned Contracts from the list of Contracts at any time until
        five (5) Business Days prior to the Sale Closing. Counterparties to
        Additional Contracts or that otherwise receive a Supplemental Assumption
        Notice shall have until 4:00 p.m. (prevailing Eastern Time) on the date that
        is fourteen (14) days after the filing and service of the Supplemental
        Assumption Notice by the Debtors on the counterparty to file a Cure
        Objection (as defined herein).

  (d)   Objections. Objections, if any, to the proposed assumption and assignment
        or the Cure Cost proposed with respect thereto (each, a “Cure Objection”),
        must (i) be in writing, (ii) comply with the applicable provisions of the
        Bankruptcy Code, Bankruptcy Rules, and the Local Rules, (iii) state with
        specificity the nature of the objection and, if the objection pertains to the
        proposed Cure Cost, the correct cure amount alleged by the objecting
        counterparty, together with any applicable and appropriate documentation
        in support thereof, and (iv) be filed with the Court and served upon the
        Objection Notice Parties, so as actually to be received on or before the date


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                      that is fourteen (14) days after the filing and service of the Assumption and
                      Assignment Notice or Supplemental Assumption Notice by the Debtors, as
                      applicable (each, a “Cure Objection Deadline”). For the avoidance of
                      doubt, a timely filed and properly served Cure Objection will reserve the
                      counterparty’s rights relating to the Contract, but will not be deemed to
                      constitute an objection to the relief generally requested in the Motion with
                      respect to the approval of the Sale.

               (e)    Dispute Resolution. In the event that a non-Debtor contract counterparty
                      files a timely Cure Objection and the Debtors and such counterparty cannot
                      resolve such objection, the objection shall be heard at the Sale Hearing or
                      such later date that the Debtors determine, subject to the Court’s calendar;
                      provided, however, that (i) any Assigned Contract that is the subject of a
                      Cure Objection with respect solely to the amount of the Cure Cost may be
                      assumed and assigned prior to resolution of such objection, (ii) the Debtors,
                      in consultation with the parties to any Contract that is subject to a Cure
                      Objection, may adjourn a Cure Objection, and (iii) the Successful Bidder (if
                      any) shall pay any undisputed Cure Cost in accordance with the terms of its
                      asset purchase agreement with the Debtors on or before the Sale Closing
                      and shall appropriately reserve funding for the disputed portion of the Cure
                      Costs. If such objection has not been resolved prior to the Sale Closing
                      (whether by an order of the Court or by agreement with the counterparty),
                      the Successful Bidder (if any) may elect, in its sole discretion, to: (x) treat
                      such counterparty’s Contract (the “Disputed Contract”) as an excluded
                      Contract (pursuant to the terms of the Successful Bidder’s asset purchase
                      agreement with the Debtors) or (y) temporarily treat such counterparty’s
                      Contract as an excluded Contract, proceed to the Sale Closing, and
                      determine whether to treat the Disputed Contract as an Assigned Contract
                      or an excluded Contract within five (5) business days after resolution of
                      such objection (whether by order of the Court or by agreement with the
                      counterparty).

               (f)    Contract Assumption. No Assigned Contract shall be deemed assumed
                      and assigned pursuant to section 365 of the Bankruptcy Code until the later
                      of (i) the date the Court has entered an order assuming and assigning such
                      Assigned Contracts or (ii) the Sale Closing.

       30.     Any party failing to timely file an objection to the Cure Cost or the proposed

assumption and assignment of a Contract, Additional Contract, or Assigned Contract listed on the

Assumption and Assignment Notice or any Supplemental Assumption Notice is deemed to have

consented to (a) such Cure Cost, (b) the assumption and assignment of such Assigned Contract or

Additional Contract, (c) the related relief requested in the Motion, and (d) the Sale. Such party



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shall be forever barred and estopped from objecting to the Cure Costs, the assumption and

assignment of the Assigned Contract or Additional Contract, adequate assurance of future

performance, the relief requested in the Motion, whether applicable law excuses such counterparty

from accepting performance by, or rendering performance to, the Successful Bidder (if any), for

purposes of section 365(c)(1) of the Bankruptcy Code and from asserting any additional cure or

other amounts against the Debtors and or Successful Bidder (if any), with respect to such party’s

Assigned Contract or Additional Contract.

       31.     The Assumption and Assignment Procedures are appropriate and fair to all

counterparties and comply in all respects with the Bankruptcy Code, the Bankruptcy Rules, and

the Local Rules. The Assumption and Assignment Notice is: (a) reasonably calculated to (i)

provide sufficient, effective notice to all counterparties and any other affected parties of the

Debtors’ ability to assume and assign to any Successful Bidder some or all of the Contracts listed

therein and (ii) afford the counterparties the opportunity to exercise any rights affected by the

Motion and the relief granted by this Order pursuant to Bankruptcy Rules 2002(a)(2), 6004, and

6006; and (b) hereby approved.

V.     Miscellaneous.

       32.     All persons and entities that participate in the Auction (if held) or bidding for the

Assets during the Sale process shall be deemed to have knowingly and voluntarily (i) consented to

the core jurisdiction of the Court to enter any order related to the Bidding Procedures, the Auction

(if held), or any other relief requested in the Motion or granted in this Order; (ii) waived any right

to a jury trial in connection with any disputes relating to the Bidding Procedures, the Auction (if

held), or any other relief requested in the Motion or granted in this Order; and (iii) consented to

the entry of a final order or judgment in connection with any disputes relating to the Bidding

Procedures, the Auction (if held), or any other relief requested in the Motion or granted in this


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Order, if it is determined that the Court would lack Article III jurisdiction to enter such a final

order or judgment absent the consent of the relevant parties.

       33.     The automatic stay pursuant to section 362 of the Bankruptcy Code is hereby

modified with respect to the Debtors to the extent necessary, without further order of the Court, to

allow any Successful Bidder to (i) deliver any notice provided for in any executed asset purchase

agreement, including, without limitation, a notice terminating any executed purchase agreement

in accordance with the terms thereof, and (ii) take any and all actions permitted under any executed

asset purchase agreement in accordance with the terms and conditions thereof.

       34.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       35.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       36.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       37.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.




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                        EXHIBIT 1

                    Bidding Procedures
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                               Debtors.                     (Joint Administration Requested)


                                         BIDDING PROCEDURES

       On November 3, 2024, Franchise Group, Inc. and its affiliated debtors and debtors in
possession in the above-captioned cases (the “Debtors”) filed voluntary petitions for relief under
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the District of Delaware (the “Court”).

       On November [●], 2024, the Debtors filed the Joint Chapter 11 Plan of Franchise Group,
Inc. and Its Affiliated Debtors [Docket No. ●] (as amended, supplemented, or otherwise modified
from time to time, the “Plan”).

       On [●], 2024, the Court entered an order [Docket No. ●] (the “Bidding Procedures
Order”), 2 authorizing the Debtors to (a) solicit bids for a sale or disposition (the “Sale”) of all or

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     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
2
     Terms used but not otherwise defined herein shall have the meanings ascribed to them in the Debtors’ Motion for
     Entry of Orders (I) (A) Approving Bidding Procedures for the Sale of Substantially All of the Debtors’ Assets,
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substantially all of the Debtors’ assets (collectively, the “Assets”), 3 free and clear of all liens,
claims, encumbrances, and other interests pursuant to section 363 of the Bankruptcy Code, and
(b) to conduct a related auction, if needed (the “Auction”), in each case in accordance with the
following procedures (these “Bidding Procedures”).

        These Bidding Procedures set forth, among other things, the process through which a
person or entity interested in any of the Assets (each, a “Potential Bidder”) may submit a binding
proposal or offer (each, a “Bid”) pursuant to which the Potential Bidder proposes to, among other
things, purchase, acquire, and take assignment and delivery of some or all of the Assets and assume
certain liabilities (the “Liabilities”) of the Debtors. This process is intended to obtain Bids that are
in the best interests of the Debtors, their creditors, and their equity holders.

ANY PARTY INTERESTED IN SUBMITTING A BID FOR ALL OR ANY PORTION OF
THE ASSETS SHOULD CONTACT THE DEBTORS’ ADVISORS, AS FOLLOWS:
    Ducera Partners LLC                          Willkie Farr & Gallagher LLP        Young Conaway Stargatt &
    11 Times Square                              787 Seventh Avenue                  Taylor, LLP
    36th Floor                                   New York, New York 10019            1000 North King Street
    New York, NY 10036                           Attn: Debra M. Sinclair             Wilmington, Delaware 19801
    Attn: Christopher Grubb                      (dsinclair@willkie.com);            Attn: Edmon L. Morton
    (cgrubb@ducerapartners.com);                 Matthew A. Feldman                  (emorton@ycst.com);
    Kishan Patel                                 (mfeldman@willkie.com);             Matthew B. Lunn
    (kpatel@ducerapartners.com); and             Betsy Feldman                       (mlunn@ycst.com);
    FRG.Ducera                                   (bfeldman@willkie.com); and         Allison S. Mielke
    (FRGMA.Ducera@ducerapartners.com).           Joseph R. Brandt                    (amielke@ycst.com); and
                                                 (jbrandt@willkie.com)               Shella Borovinskaya
                                                                                     (SBorovinskaya@ycst.com)


     I.       DESCRIPTION OF THE ASSETS.

       The Debtors intend to sell all or substantially all of the Assets, which, for the avoidance of
doubt, may include the equity interests of any Debtor.

              Any Potential Bidder may submit a Bid for the Assets, subject to the conditions set forth
herein.



       (B) Scheduling an Auction and a Sale Hearing and Approving the Form and Manner of Notice Thereof,
       (C) Approving Assumption and Assignment Procedures, and (D) Granting Related Relief; and (II) (A) Approving
       the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests, and Encumbrances, (B) Approving the
       Assumption and Assignment of Executory Contracts and Unexpired Leases, and (C) Granting Related Relief
       (the “Bidding Procedures Motion”), the Bidding Procedures Order, or the Restructuring Support Agreement (as
       defined in the Bidding Procedures Motion), as applicable. Anything in these Bidding Procedures to the contrary
       notwithstanding, the term “Sufficient Bid” shall have the meaning given to such term in the Restructuring Support
       Agreement.
3
          The Debtors are simultaneously pursuing store closing sales with respect to their American Freight business
          pursuant to the Interim Order (I) Authorizing the Debtors to Assume the Consulting Agreement, (II) Approving
          Procedures for Store Closing Sales, and (III) Granting Related Relief. The term “Assets,” as used herein, does
          not refer to any assets, contracts or interests subject to the American Freight Store Closing Sales.


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       The ability to undertake and consummate a sale of the Assets shall be subject to competitive
bidding, as set forth herein, and approval by the Court.

 II.   KEY DATES AND DEADLINES.

                    Deadline                                           Event
 December 11, 2024                                Entry of Bidding Procedures Order

 As soon as practicable after entry of the Deadline for Debtors to publish Sale Hearing
 Bidding Procedures Order                  Notice

 Two Business Days after the entry of the Deadline for Debtors to file and serve Sale
 Bidding Procedures Order, or as soon as Hearing Notice
 practicable thereafter

 4:00 p.m. (ET) on the date that is fourteen Sale Objection Deadline
 (14) days after service of the Sale Hearing
 Notice

 December 16, 2024 at 5:00 p.m. (ET)              Deadline for Acceptable Bidders to submit
                                                  non-binding Indications of Interest

 December 20, 2024                                Deadline to file and serve Assumption and
                                                  Assignment Notice

 4:00 p.m. (ET) on the date that is fourteen Deadline to object to the Assumption and
 (14) days after service of the Assumption Assignment Notice
 and Assignment Notice

 January 23, 2025 at 5:00 p.m. (ET)               Bid Deadline

 No later than 48 hours prior to Auction, if Deadline to Designate Qualified Bidders
 applicable

 Twenty-four     (24)     hours following Deadline to object to adequate assurance of
 publication of the Notice of Successful future performance under Assigned Contracts
 Bidder, if no Auction is held            (if any)

 January 28, 2025 at 10:00 a.m. (ET)              Auction, solely in the event the Debtors
                                                  receive more than one Qualified Bid prior to or
                                                  at the Bid Deadline that constitutes a Sufficient
                                                  Bid

 As soon as practicable after the Auction, if Deadline for Debtors to file and serve Notice
 applicable                                   of Successful Bidder


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                   Deadline                                           Event
 January 30, 2025 at 4:00 p.m. (ET), if an Deadline to object to (i) conduct at Auction (if
 Auction is held                           any) and (ii) adequate assurance of future
                                           performance under Assigned Contracts (if
                                           any)

 January 28, 2025, at 5:00 p.m. (ET), if no Deadline to Reply to Sale Objections
 Auction is held

 February 2, 2025, at 12:00 p.m. (ET), if an
 Auction is held

 January 30, 2025 at [●] a.m./p.m. (ET), Sale Hearing, if no Auction is held
 subject to the availability of the Court

 February 3, 2025 at [●] a.m./p.m. (ET), Sale Hearing, if an Auction is held
 subject to the availability of the Court



III.   PARTICIPATION REQUIREMENTS.

A. Potential Bidders.

       To participate in the bidding process, a Potential Bidder must deliver to each of the
Debtors’ advisors the following documents and information:

              1.     an executed confidentiality agreement on terms acceptable to the Debtors
                     and substantially in the form approved by the Consultation Parties (a
                     “Confidentiality Agreement”); and

              2.     written proof by the Potential Bidder of its (a) financial capacity to close
                     the Sale that will be proposed by the Potential Bidder and (b) ability to
                     provide adequate assurance of future performance under any executory
                     contracts and unexpired leases to be assumed by the Debtors and assigned
                     to such Potential Bidder in connection with such Sale, which may include
                     audited financial statements of, or verified financial commitments obtained
                     by, the Potential Bidder that evidence the Potential Bidder’s internal
                     financial resources and ability to finance its Bid with cash on hand, available
                     lines of credit, uncalled capital commitments or otherwise available funds
                     (or, if the Potential Bidder is an entity formed for the purpose of acquiring
                     the desired Assets, the party(ies) that will provide the Potential Bidder with
                     the equity and/or debt financing to finance its Bid and bear liability for a
                     breach), the adequacy of which will be assessed by the Debtors and their
                     advisors, in consultation with the Consultation Parties.



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        Each Potential Bidder shall comply with all reasonable requests for information and due
diligence access by the Debtors and their advisors regarding the financial capacity and ability of
such Potential Bidder, as applicable, with respect to the matters described in Sections 2(a) and 2(b)
above in this Article III.A. Any party who wishes to make reasonable requests for information
from Potential Bidders shall submit such requests only through the Debtors and their advisors and,
for the avoidance of doubt, shall not be permitted to directly contact any Potential Bidder and/or
its respective advisor(s) prior to the Auction regarding the Sale.

B. Obtaining Due Diligence.

        Only Potential Bidders that have executed Confidentiality Agreements and have provided
evidence satisfactory to the Debtors, in consultation with the Consultation Parties, with respect to
the matters described in Sections 2(a) and 2(b) in Article III.A. (each such Potential Bidder, an
“Acceptable Bidder”) shall be eligible to receive due diligence information, access to the Debtors’
electronic data room established for the Sale, and any additional non-public information regarding
the Debtors and/or the Assets. For the avoidance of doubt, in the event that the ABL Lenders, the
Senior Secured Lenders, 4 and/or Second Lien Lenders exercise their respective Credit Bid Rights
in accordance with Article III.C., such Secured Party shall be deemed an Acceptable Bidder.

        The Debtors and their advisors shall coordinate responses to all reasonable requests from
Acceptable Bidders for additional information and due diligence access; provided that (i) the
Debtors shall have the right to withhold information and/or access from any Acceptable Bidder,
or modify information to be provided to any Acceptable Bidder, that the Debtors determine is
sensitive or otherwise not appropriate for disclosure to, and/or access by, such Acceptable Bidder
and (ii) the Debtors may decline to provide such information and/or access to any Acceptable
Bidder who, at such time and in the Debtors’ reasonable business judgment, has not established,
or who has raised doubt, that such Acceptable Bidder intends in good faith to consummate the
proposed Sale.

        The due diligence period will end on the Bid Deadline (as defined below) and, subsequent
to the Bid Deadline, the Debtors shall have no obligation to furnish any due diligence information
or access. Additional due diligence information or access will not be provided after the Bid
Deadline, unless otherwise deemed appropriate by the Debtors. The Debtors and their
representatives and advisors are not responsible for, and will bear no liability with respect to, any
information obtained by any Acceptable Bidder in connection with these Bidding Procedures or
any Sale.

C. Right to Credit Bid.

       In connection with any Sale and notwithstanding anything to the contrary, until the Bid
Deadline, any Acceptable Bidder (i) holding a valid and perfected security interest in any of the
Assets and (ii) having the right under applicable non-bankruptcy law to credit bid claims secured
by such security interest (any such Acceptable Bidder satisfying clauses (i) and (ii), a “Secured
Party”), may seek to credit bid any portion and up to the full amount of the value of such Secured

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    As used herein, “Senior Secured Lenders” means, individually or collectively (as the context may require), the
    DIP Lenders and the First Lien Lenders.


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Party’s claims with respect to any individual Asset, portion of the Assets, or all Assets, in each
case constituting such Secured Party’s collateral by which such claims are secured (the “Credit
Bid Right” and, such bid, the “Credit Bid”); provided, however, that, anything in these Bidding
Procedures to the contrary notwithstanding, the Senior Secured Lenders (including any agent or
other representative for any of the Senior Secured Lenders) shall not be required to elect to exercise
their Credit Bid Right and submit a Credit Bid until the time that is the later of (x) twenty-four
(24) hours prior to the commencement of the Auction (if held) and (y) twenty-four (24) hours after
the Debtors designate Qualified Bidders (as defined below). Anything in these Bidding Procedures
to the contrary notwithstanding, a “Secured Party” shall be deemed to include any of the Senior
Secured Lenders (including any agent or other representative for any of the Senior Secured
Lenders) with respect to the full amount of the Senior Secured Claims. 5

        Anything in these Bidding Procedures to the contrary notwithstanding, if a Credit Bid is
submitted by, or on behalf of, the Senior Secured Lenders, (a) such Credit Bid shall be deemed a
Qualified Bid (as defined herein) in all respects and notwithstanding the fact that such Credit Bid
might not satisfy some or all of the requirements or conditions for a Bid to constitute a Qualified
Bid, (b) the Senior Secured Lenders and/or the person or entity submitting the Credit Bid on their
behalf (including any agent or other representative for the Senior Secured Lenders) shall be
deemed a Qualified Bidder (as defined herein), (c) the Senior Secured Lenders and/or the person
or entity submitting the Credit Bid on their behalf (including any agent or other representative for
the Senior Secured Lenders) shall not be required to provide a deposit, and (d) the value of the
Senior Secured Claims that are the subject of such Credit Bid shall be the full face value of such
Claims. Anything in these Bidding Procedures to the contrary notwithstanding, any Bid submitted
by, or on behalf of, the Senior Secured Lenders (including any Bid submitted by any agent or other
representative for the Senior Secured Lenders) need only be a written notice that specifies (either
specifically or generally) the amount of the Senior Secured Claims that are the subject of such Bid.

        Upon consummation of a Sale pursuant to the exercise of the Credit Bid Right, the
applicable Secured Party shall not be required to take title to or ownership of, or have any
obligation in connection with (in each case, legal, equitable, or otherwise), or be deemed to have
taken title to or ownership of, or have any obligation in connection with (in each case, legal,
equitable, or otherwise), any individual Asset, portion of the Assets, or all of the Assets, and such
Secured Party shall have the right to designate any person or entity that shall take title to the
individual Asset, portion of the Assets, or all of the Assets that are subject to the Credit Bid Right.

IV.       REQUIREMENTS FOR QUALIFIED BIDS.

        Subject to the proviso in the first paragraph of Article III.C. and subject to the second
paragraph of Article III.C., any Bid will be considered a qualified bid only if the Bid is submitted
in writing by an Acceptable Bidder by the Bid Deadline and is determined to comply with all of
the following in the Debtors’ business judgment (after consultation with the Consultation Parties)
(such bid, a “Qualified Bid,” and, such Acceptable Bidder, a “Qualified Bidder”):



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      As used herein, “Senior Secured Claims” means, individually or collectively (as the context may require), the
      DIP Claims and the First Lien Claims.


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  1.    Identity. The Bid must fully disclose the identity of each person or entity
        that (a) is bidding for all or any portion of the Assets; (b) is sponsoring
        (including any equity sponsor) or financing the Bid (including through the
        issuance of debt, or extension of credit, in connection with such Bid); (c) is
        participating in (including through license or similar arrangement with
        respect to the Assets to be acquired in connection with such Bid) such Bid
        and the complete terms of any such participation; and/or (d) will directly or
        indirectly own and/or control any amount of capital stock, limited liability
        company interests, partnership interests or other equity, ownership,
        beneficial or profits interests of such Acceptable Bidder, or any options,
        warrants or other securities that are convertible into, or exchangeable or
        exercisable for, any of the foregoing; in each case, including its full legal
        name, jurisdiction of incorporation or formation, and its location in the
        Acceptable Bidder’s corporate structure. The Bid must also disclose any
        past or present affiliation, connection or agreement between the Acceptable
        Bidder or any person or entity described in the immediately preceding
        sentence, on the one hand, and any Debtor, any other prospective bidder for
        all or any portion of the Assets, or any officer, director, manager,
        shareholder, partner, investor or controlling person or entity of any Debtor
        or any such other prospective bidder, on the other hand.

  2.    Purpose; Assets and Liabilities. The Bid includes an irrevocable and
        binding offer by the Acceptable Bidder to either purchase some or all of the
        Assets (identified with specificity). A Bid involving the purchase of some
        or all of the Assets must clearly identify the following: (a) the Assets, or the
        portion thereof, to be purchased (including a preliminary list of executory
        contracts and unexpired leases that may be assumed by the Debtors and
        assigned to such Acceptable Bidder in connection with the Sale
        contemplated by such Bid, subject to revision prior to closing); and (b) the
        Liabilities and obligations to be assumed (including an estimate of
        indebtedness and applicable cure costs to be assumed or paid, if any).

  3.    Purchase Price. The Bid must clearly set forth the purchase price to be
        paid in connection with the Sale contemplated by such Bid (the “Purchase
        Price”), including all cash and non-cash components, if any. The Bid must
        confirm that all cash components of the Purchase Price are in U.S. Dollars.
        If the Purchase Price consists of certain non-cash components, such as a
        Credit Bid, assumed Liabilities, or any other non-cash consideration, the
        Bid must specify the form of such non-cash consideration and shall include
        a detailed analysis of the value of each such non-cash component of such
        Purchase Price.

  4.    Deposit. The Bid must be accompanied by a good faith deposit in the form
        of cash in an amount equal to ten percent (10%) of the maximum cash
        component of the Purchase Price of such Bid (the “Deposit”) to be held in
        an escrow account to be established by the Debtors and applied or returned


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        to the Acceptable Bidder, in each case as set forth in Article XVIII of these
        Bidding Procedures.

  5.    Marked Agreement. A Bid for the Assets must include (a) a duly executed,
        irrevocable, non-contingent asset purchase agreement (which must be based
        on the Form APA (as defined below)) with respect to the acquisition of the
        applicable Assets and the assumption of the applicable Liabilities necessary
        to effectuate the Sale contemplated in such Bid, (b) a schedule of Assigned
        Contracts, (c) a clearly marked-up version of (i) the form of Sale Order (as
        defined in the Bidding Procedures Motion) provided by the Debtors to the
        Acceptable Bidder and (ii) the form of asset purchase agreement provided
        by the Debtors to the Acceptable Bidder (the “Form APA”), in each case,
        showing all changes requested by the Acceptable Bidder, and (d) all other
        material documents integral to such Bid (together with the asset purchase
        agreement and Sale Order, collectively, the “Asset Sale Bid Documents”).

  6.    Committed Financing. The Bid must include evidence of the Acceptable
        Bidder’s capacity to consummate the Sale contemplated by such Bid with
        (a) cash on hand or (b) committed financing documented to the satisfaction
        of the Debtors, in consultation with the Consultation Parties, that
        demonstrates that the Acceptable Bidder has received debt and/or equity
        funding commitments to timely provide the Acceptable Bidder with funds
        sufficient to pay the Purchase Price set forth in such Bid and all other
        obligations under such Bid, including providing adequate assurance of
        future performance under all contracts proposed to be Assigned Contracts
        by such Bid. Such funding commitments or other financing must not be
        subject to any internal approvals, syndication requirements, diligence, or
        credit committee approvals, and shall have covenants and conditions
        acceptable to the Debtors. Such funding commitments shall remain
        outstanding until at least ninety (90) days after entry of the Sale Order
        applicable to the Bid if such Bid is selected as the Successful Bid (as defined
        below) or the Backup Bid (as defined below). The Bid must disclose the
        identity and contact information for each entity providing any such funding
        commitment. Any such funding commitments that are provided by equity
        holders or affiliated entities of the Acceptable Bidder must be accompanied
        by written evidence that such equity holders or other affiliated entities have
        the resources and ability to fund such commitments on a timely basis.

  7.    Certain Conditions and Contingencies Not Permitted. The Bid shall not
        be conditioned on, or have any contingencies with respect to, any
        (i) financing, including the obtaining or the sufficiency of financing;
        (ii) internal approvals; (iii) due diligence, including the outcome or review
        of due diligence; (iv) third party consents or approvals (other than
        governmental or regulatory approvals or consents that may be required to
        consummate the proposed Sale contemplated by such Bid, including any
        antitrust approval that may be required under the HSR Act (as defined
        below)); (v) the satisfaction or achievement of any financial targets,

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        thresholds, or metrics; or (vi) the absence of any material adverse effect
        since a date earlier than the date the Bid was submitted.

  8.    Governmental and Regulatory Approvals. The Bid must describe all
        governmental or regulatory approvals or consents that are required to
        consummate the proposed Sale contemplated by such Bid (including any
        antitrust approval related to the Hart-Scott-Rodino Antitrust Improvements
        Act of 1976, as amended (the “HSR Act”)), and the time period within
        which the Acceptable Bidder expects to receive such approvals or consents.
        The Bid must include evidence satisfactory to the Debtors of the ability of
        the Acceptable Bidder to obtain such approvals or consents as soon as
        reasonably practicable, as well as a description of any material
        contingencies or other conditions that will be imposed upon, or that will
        otherwise apply to, the obtainment or effectiveness of any such approvals
        or consents.

  9.    Irrevocable. The Bid must be irrevocable and binding; provided that such
        Bid may be revoked after the Auction if such Bid is not selected as the
        Successful Bid or Backup Bid.

  10.   Backup Bidder. The Bid must contain an agreement for the Acceptable
        Bidder to be a Backup Bidder if such Acceptable Bidder’s Bid is selected
        as the next highest or next best Bid after the Successful Bid.

  11.   As-Is, Where-Is. The Bid must include the following representations and
        warranties: (a) the Acceptable Bidder has had an opportunity to conduct any
        and all due diligence regarding the Debtors’ business and the Assets and
        Liabilities such Acceptable Bidder proposes to acquire and assume prior to
        submitting such Bid; and (b) the Acceptable Bidder (i) has relied solely
        upon its own independent review, investigation, and/or inspection of any
        relevant documents and the Assets and Liabilities such Acceptable Bidder
        proposes to acquire and assume in making such Bid and (ii) did not rely on
        any written or oral statements, representations, promises, warranties, or
        guaranties whatsoever, whether express or implied, by operation of law or
        otherwise, regarding the Debtors’ businesses or the Assets and Liabilities
        such Acceptable Bidder proposes to acquire and assume or the accuracy or
        completeness of any information provided in connection therewith, except
        as expressly stated in the representations and warranties contained in such
        Acceptable Bidder’s proposed purchase agreement ultimately accepted and
        executed by the Debtors.

  12.   Authorization. The Bid must include evidence that the Acceptable Bidder
        has obtained authorization or approval from all persons, entities, bodies, and
        committees that are required to provide such authorization or approval
        under such Acceptable Bidder’s organizational documents (including, to the
        extent applicable, its board of directors or board of managers (or
        comparable governing body), its general partner, or its stockholders,

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        members, partners, or other equity holders) acceptable to the Debtors with
        respect to (a) the submission, execution, and delivery of such Bid and the
        Asset Sale Bid Documents, (b) participation in the Auction, and (c) closing
        of the proposed Sale contemplated in such Bid (including any financing that
        is part of the Bid). The Bid shall further state that any necessary filings
        under applicable regulatory, antitrust, and other laws will be made in a
        timely manner and that payment of the fees associated therewith, whether
        the responsibility of the Acceptable Bidder or the Debtors, shall be made by
        the Acceptable Bidder.

  13.   Disclaimer of Fees. The Bid must not seek to entitle the Acceptable Bidder
        to any right to receive a break-up fee, topping fee, termination fee or similar
        type of payment, any compensation, or any expense reimbursement, and the
        Acceptable Bidder shall waive the right to pursue any administrative
        expense claim (including under a theory of substantial contribution) under
        11 U.S.C. § 503 related in any way to the submission of such Bid or
        participation in any Auction. The Acceptable Bidder shall bear its own
        costs and expenses (including legal fees) in connection with the submission
        of such Bid, participation in any Auction, and the closing and
        consummation of any Sale.

  14.   Time Frame for Closing. The Bid by an Acceptable Bidder must be
        reasonably likely (based on antitrust or other regulatory issues, conditions,
        experience, and other considerations in the Debtors’ business judgment) to
        be consummated, if selected as the Successful Bid, within a time frame
        acceptable to the Debtors, but in any event no later than March 4, 2025. The
        Acceptable Bidder must commit to closing the proposed Sale contemplated
        by such Bid as soon as practicable, and must expressly set forth any
        potential regulatory issues or approvals that might arise in connection with
        such Acceptable Bidder’s acquisition of the Assets, including such
        Acceptable Bidder’s anticipated timing and proposed approach for
        resolving any such regulatory issues and obtaining any potential regulatory
        approvals.

  15.   Employees. The Bid must include a statement regarding whether the
        Acceptable Bidder intends to offer future employment to any of the
        Debtors’ employees (and, if so, specifically identify such employees);
        provided that such Bid shall not be conditioned on, or have any
        contingencies with respect to, any acceptance of any such offer of
        employment.

  16.   Adherence to Bidding Procedures. The Bid must include a statement that
        (a) the Acceptable Bidder has acted in good faith consistent with section
        363(m) of the Bankruptcy Code, (b) such Bid constitutes a bona fide offer
        to consummate the proposed Sale embodied therein, and (c) the Acceptable
        Bidder agrees to be bound by these Bidding Procedures.


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               17.     Cooperation. The Acceptable Bidder must covenant to cooperate with the
                       Debtors to provide factual information regarding such Acceptable Bidder’s
                       assets, liabilities, businesses, and operations upon the Debtors’ request.

               18.     No Collusion. The Acceptable Bidder must acknowledge in writing that
                       (a) in connection with submitting the Bid, it has not engaged in any
                       collusion that would be subject to section 363(n) of the Bankruptcy Code
                       with respect to any Bids or the Sale, specifying that it did not agree with
                       any Potential Bidders, Acceptable Bidders, or Qualified Bidders to control
                       price; and (b) it agrees not to engage in any collusion that would be subject
                       to section 363(n) of the Bankruptcy Code with respect to any Bids, the
                       Auction, or the Sale.

               19.     Acknowledgement of Remedies. The Bid shall include a written
                       acknowledgement from the Acceptable Bidder that, in the event of the
                       Acceptable Bidder’s breach of, or failure to perform under, the Asset Sale
                       Bid Documents, the Debtors and their estates shall be entitled to pursue all
                       available legal and equitable remedies, including, without limitation,
                       retention of the Deposit (including any Incremental Deposit Amount (as
                       defined below)) as part of the damages resulting to the Debtors and their
                       estates for such breach or failure to perform.

               20.     Other Information. The Bid contains such other information as may be
                       reasonably requested by the Debtors.

       Notwithstanding anything herein to the contrary, any Bid that would otherwise constitute
a Qualified Bid will cease to be a Qualified Bid if such Bid, taken together with all other Bids that
would otherwise constitute a Qualified Bid, does not constitute a Sufficient Bid at least forty-eight
(48) hours prior to the date of the Auction.

 V.    BID DEADLINE.

        An Acceptable Bidder that desires to make a Bid must transmit via email (in .pdf or similar
format) or deliver written copies of its Bid to the following parties so as to be received not later
than 5:00 p.m. (prevailing Eastern Time) on January 23, 2025 (the “Bid Deadline”): (i) counsel
to the Debtors, Willkie Farr & Gallagher LLP, 787 Seventh Avenue, New York, NY 10019,
Attn: Debra M. Sinclair, email: dsinclair@willkie.com, Matthew A. Feldman, email:
mfeldman@willkie.com, Betsy L. Feldman, email: bfeldman@willkie.com, and Joseph R. Brandt,
email: jbrandt@willkie.com; (ii) Delaware counsel to the Debtors, Young Conaway Stargatt and
Taylor, LLP, 1000 North King Street, Wilmington, DE, 19801, Attn: Edmon L. Morton, email:
emorton@ycst.com; Matthew B. Lunn, email: mlunn@ycst.com; and Allison S. Mielke, email:
amielke@ycst.com; and (iii) the Debtors’ investment banker, Ducera Partners LLC, 11 Times
Square, Floor 36, New York, NY 10036, Attn: Christopher Grubb, email:
cgrubb@ducerapartners.com; Kishan Patel, email: kpatel@ducerapartners.com; and FRG.Ducera,
email: FRGMA.Ducera@ducerapartners.com. The Debtors shall promptly deliver (a) unredacted
copies of any and all Bids received by the Debtors or any of their advisors to the Consultation
Parties on a professional eyes only basis and (b) anonymized summaries of any and all Bids

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received by the Debtors or any of their advisors to the Consenting First Lien Lenders (which shall
be delivered to the Ad Hoc Group Advisors to transmit to such Consenting First Lien Lenders), if
such Consenting First Lien Lenders, or any person or entity acting on behalf of such Consenting
First Lien Lenders, in each case, in its capacity as such, (x) has not submitted a Bid or, (y) if such
Consenting First Lien Lenders or any person or entity acting on behalf of such Consenting First
Lien Lenders have/has submitted a Bid, unequivocally revokes its Bid. If a Committee (as defined
below) is appointed in the Chapter 11 Cases (as defined in the Bidding Procedures Motion) prior
to the date of the Sale Hearing (as defined below), the Debtors shall also deliver a summary of any
Bids received to the Committee’s counsel on a professional eyes only basis.

VI.    QUALIFIED BIDDERS.

        No later than forty-eight (48) hours prior to the commencement of the Auction (if held),
the Debtors shall notify each Acceptable Bidder whether such party is a Qualified Bidder. If any
Bid is determined by the Debtors not to be a Qualified Bid, the Debtors will refund such Acceptable
Bidder’s Deposit on or before the date that is five (5) Business Days after the Bid Deadline.

        Between the date that the Debtors notify an Acceptable Bidder that it is a Qualified Bidder
and the Auction (if held), the Debtors may discuss, negotiate, or seek clarification of any Qualified
Bid from a Qualified Bidder. Without the prior written consent of the Debtors (with email being
sufficient), a Qualified Bidder may not modify, amend, or withdraw its Qualified Bid, except for
proposed amendments to increase the Purchase Price contemplated by, or otherwise improve the
terms of, the Qualified Bid, during the period that such Qualified Bid remains binding as specified
in these Bidding Procedures; provided that any Qualified Bid may be improved at the Auction (if
held) as set forth herein. Any improved Qualified Bid must continue to comply with the
requirements for Qualified Bids set forth in these Bidding Procedures.

        Each Qualified Bidder shall comply with all reasonable requests for additional information
and due diligence access requested by the Debtors or their advisors regarding the ability of such
Qualified Bidder to consummate the Sale contemplated by its Qualified Bid. Failure by a Qualified
Bidder to comply with such reasonable requests for additional information and due diligence
access may be a basis for the Debtors to determine that such bidder is no longer a Qualified Bidder
or that a Bid made by such bidder is not a Qualified Bid.

VII.   THE AUCTION.

         Within two (2) Business Days after entry of the Bidding Procedures Order, or as soon as
practicable thereafter, the Debtors shall serve a notice of the potential Auction and Sale (the “Sale
Hearing Notice”) on: (a) the Notice Parties (as defined below); (b) all parties to executory contracts
and unexpired leases proposed to be assumed, assigned, or rejected as part of the proposed Sale;
(c) all parties who have expressed a written interest in some or all of the Assets within six (6)
months prior to entry of the Bidding Procedures Order; (d) all known holders of liens,
encumbrances, and other claims secured by the Assets; (e) the Internal Revenue Service; (f) all
applicable state and local taxing authorities; (g) each governmental agency that is an interested
party with respect to the Sale and transactions proposed thereunder; and (h) all parties that have
requested or that are required to receive notice pursuant to Bankruptcy Rule 2002. As soon as
reasonably practicable after entry of the Bidding Procedures Order, the Debtors shall publish the

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Sale Hearing Notice, with any modifications necessary for ease of publication, in The New York
Times (national edition), or similar nationally circulated publications, to provide notice to any other
potentially interested parties.

        Anything in these Bidding Procedures to the contrary notwithstanding, if the Debtors do
not receive a Sufficient Bid at least forty-eight (48) hours prior to the date of the Auction, then
(i) the Debtors shall not hold the Auction, and (ii) the Debtors shall immediately terminate the
process to consummate a Sale and shall exclusively pursue the Plan Transaction in accordance
with the terms of the Restructuring Support Agreement.

        If the Debtors receive more than one Sufficient Bid at least forty-eight (48) hours prior to
the date of the Auction and decide to hold an Auction, no later than forty-eight (48) hours prior to
the commencement of the Auction, the Debtors will notify all Qualified Bidders and the
Consultation Parties of the opening Qualified Bid at the Auction (the “Minimum Bid”), which
Minimum Bid shall in no event be no less than a Sufficient Bid, and provide copies of the Asset
Sale Bid Documents supporting the Minimum Bid to all Qualified Bidders.

       The Auction, if held, shall take place at 10:00 a.m. (prevailing Eastern Time) on
January 28, 2025, (i) via a virtual meeting, (ii) at the offices of Willkie Farr & Gallagher LLP,
787 Seventh Avenue, New York, NY 10019, or (iii) at such later date, time, and location as
designated by the Debtors, after providing notice to the Notice Parties and the Consultation Parties.

A. Participants and Attendees.

        The Debtors and their advisors shall direct and preside over the Auction (if held). At the
start of any Auction, the Debtors shall describe the terms of the Minimum Bid. All incremental
Bids made thereafter shall be Overbids (as defined herein) and shall be made and received on an
open basis, and all material terms of each Overbid shall be fully disclosed to all other Qualified
Bidders. The Debtors shall maintain a written transcript of any Auction held and of all Bids made
and announced at any Auction, including the Minimum Bid, all Overbids, and the Successful Bid.

        Subject to the proviso in the first paragraph of Article III.C. and subject to the second
paragraph of Article III.C., only Qualified Bidders that have submitted Qualified Bids by the Bid
Deadline shall be eligible to participate in the Auction, if held. Qualified Bidders participating in
any Auction held must appear in person (or through a duly authorized representative),
telephonically, or through a video teleconference, as determined by the Debtors, in consultation
with the Consultation Parties. If held, any Auction will be conducted openly and all creditors may
be permitted to attend; provided that the Debtors may establish a reasonable limit on the number
of representatives and/or professional advisors that may appear on behalf of or accompany each
Qualified Bidder or creditor at the Auction. Any creditor and its advisors wishing to attend the
Auction (if held) must contact the Debtors’ advisors no later than one (1) Business Day prior to
the start of any Auction; provided that (i) the Committee, if any, and (ii) any Secured Party and, in
each case, their respective advisors (including the Consultation Parties), shall be permitted to
attend the Auction, if held, with prior notice to the Debtors’ advisors no later than the later of (x)
twenty-four (24) hours prior to the commencement of the Auction (if held) and (y) twenty-four
(24) hours after the Debtors designate Qualified Bidders.



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        Each Qualified Bidder participating in the Auction, if held, will be required to confirm in
writing and on the record at any Auction that (i) it has not engaged in any collusion with respect
to the submission of any Bid or the Auction and (ii) each Qualified Bid it submits at the Auction
is a binding, good faith, and bona fide offer to purchase the Assets identified in such Qualified
Bid.

B. Auction Procedures.

        If held, the Auction shall be governed by the following procedures, subject to the Debtors’
right to modify such procedures in their reasonable business judgment, in consultation with the
Consultation Parties:

               1.     Minimum Bid. Bidding shall commence at the amount of the Minimum
                      Bid.

               2.     Minimum Overbid. Qualified Bidders may submit successive Bids with a
                      Purchase Price that is higher than the Purchase Price for the previous Bid,
                      based on and increased from the Minimum Bid (each such Bid, an
                      “Overbid”). Any Overbid shall be made in increments of at least
                      $1,000,000.00 in cash, cash equivalents, the Credit Bid, or such other
                      consideration that the Debtors deem equivalent. The Debtors may, in their
                      reasonable business judgment, in consultation with the Consultation Parties,
                      announce increases or reductions to initial or subsequent minimum
                      incremental Overbids at any time during the Auction (if held).

               3.     Highest or Best Offer. After the first round of bidding and between each
                      subsequent round of bidding, the Debtors shall announce the Bid that they
                      believe in their reasonable business judgment, in consultation with the
                      Consultation Parties, to be the highest or otherwise best offer for the Assets
                      (the “Leading Bid”), and describe the material terms thereof to each
                      participating Qualified Bidder. Each round of bidding will conclude after
                      each participating Qualified Bidder has had the opportunity to submit a
                      subsequent Bid with full knowledge of the Leading Bid. To the extent not
                      previously provided (as determined by the Debtors, in consultation with the
                      Consultation Parties), a Qualified Bidder submitting a subsequent Bid must
                      submit, as part of its subsequent Bid, written evidence (in the form of
                      financial disclosure or credit quality support information or enhancement
                      reasonably acceptable to the Debtors, in consultation with the Consultation
                      Parties) demonstrating such Qualified Bidder’s ability to close the Sale at
                      the Purchase Price contemplated by such subsequent Bid.

               4.     Incremental Deposit. Upon the submission by a Qualified Bidder of its Bid
                      at the Auction (if held), it must commit on the record to pay promptly
                      following the Auction, if such Bid were to be the Successful Bid or the
                      Backup Bid, the incremental amount of its Deposit calculated based on the
                      increased Purchase Price of such Bid, if applicable (the “Incremental
                      Deposit Amount”).

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  5.    Rejection of Bids. The Debtors may, in their reasonable business judgment,
        in consultation with the Consultation Parties, at any time before entry of an
        order of the Court approving a Qualified Bid, reject any Bid (other than a
        Bid submitted by, or on behalf of, the Senior Secured Lenders) that the
        Debtors determine is (a) inadequate or insufficient, (b) not in conformity
        with the requirements of the Bankruptcy Code, these Bidding Procedures,
        or the terms and conditions of the Sale, or (c) contrary to the best interests
        of the Debtors, their estates, their creditors, and other stakeholders.

  6.    No Late Bids. The Debtors shall not consider any Bids submitted after the
        conclusion of any Auction (if held), and any and all such Bids shall be
        deemed untimely and shall under no circumstances constitute a Bid or an
        Overbid.

  7.    No Round-Skipping. Round-skipping, as described herein, is explicitly
        prohibited. To remain eligible to participate in the Auction (if held), in each
        round of bidding, (i) each Qualified Bidder must submit a Bid before the
        end of such round of bidding that is a higher or otherwise better offer than
        the immediately preceding Bid submitted by a Qualified Bidder in such
        round of bidding and (ii) to the extent a Qualified Bidder fails to Bid in such
        round of bidding or to submit a Bid in such round of bidding that is a higher
        or otherwise better offer than the immediately preceding Bid submitted by
        a Qualified Bidder in such round of bidding, as determined by the Debtors
        in their reasonable business judgment, in consultation with the Consultation
        Parties, such Qualified Bidder shall be disqualified from continuing to
        participate in any Auction (if held) without the consent of the Debtors;
        provided that, notwithstanding anything to the contrary herein, a Qualified
        Bidder that is bidding on all or substantially all of the Assets shall not be
        required to participate in any Auction or round thereof (if held) for less than
        all or substantially all of the Assets.

  8.    Auction Sequence. In the event the Debtors receive Qualified Bids for less
        than all or substantially all of the Assets (such Qualified Bids, “Partial Asset
        Bids”), the Debtors shall start the Auction with such Partial Asset Bids (and,
        for the avoidance of doubt, any Qualified Bidder for all or substantially all
        of the Assets shall not be required to participate in such Auction) to
        determine which Partial Asset Bid is the highest or otherwise best Bid for
        the Assets in question (such Bid, the “Prevailing Partial Asset Bid”). Upon
        determination of the Prevailing Partial Asset Bid for each of the Assets, the
        Debtors shall conduct an Auction with respect to Bids for all or substantially
        all of the Assets (such Bids, “All Asset Bids,” and, the highest or otherwise
        best such Bid, the “Prevailing All Asset Bid”). To the extent the Debtors
        determine that the Prevailing Partial Asset Bid(s) is/are not higher or
        otherwise better than the Prevailing All Asset Bid, then the Prevailing
        Partial Asset Bid bidders shall be required to submit Bids that are higher or
        otherwise better than the Prevailing All Asset Bid. To the extent the
        Debtors determine that the Prevailing Partial Asset Bid(s) is/are higher or

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                      otherwise better than the Prevailing All Asset Bid, then the Prevailing All
                      Asset Bid bidder shall be required to submit a Bid that is higher or otherwise
                      better than the Prevailing Partial Asset Bid(s).

              9.      Additional Information. The Debtors shall have the right to request any
                      additional financial information that will allow the Debtors to make a
                      reasonable determination as to a Qualified Bidder’s (other than any Secured
                      Party that is a Qualified Bidder) financial and other capabilities to
                      consummate the Sale contemplated by its Bid and any further information
                      that the Debtors believe is reasonably necessary to clarify and evaluate any
                      Bid made by a Qualified Bidder during the Auction (if held).

              10.     Modification of Procedures. The Debtors may, in consultation with the
                      Consultation Parties, (a) announce, at any Auction (if held), modified or
                      additional procedures for conducting the Auction, and (b) otherwise make
                      modifications to these Bidding Procedures; provided, however, that,
                      without the prior written consent of the Required Consenting First Lien
                      Lenders, in no event shall the Debtors make any amendments or
                      modifications, directly or indirectly, to any of the following (including to
                      any of the defined terms used therein): (i) the second paragraph of Article
                      III.C., (ii) Number 13 in Article IV, (iii) the last paragraph of Article IV,
                      (iv) the second sentence of Article V, (v) the second paragraph of
                      Article VII, (vi) the second paragraph of Section D of Article VII, (vii) the
                      last paragraph of Article VIII, (viii) Article XIII, (ix) Article XVII,
                      (x) Article XIX, (xi) any term or provision of these Bidding Procedures
                      relating to (A) the Senior Secured Lenders’ right to submit a Bid (including
                      a Credit Bid) at or at any time prior to the time set forth in the proviso in the
                      first paragraph of Article III.C., and their right to exercise their Credit Bid
                      Right and submit a Credit Bid, (B) any person or entity submitting a Bid
                      (including a Credit Bid) on behalf of the Senior Secured Lenders (including
                      any agent or other representative for the Senior Secured Lenders), (C) the
                      status of any Bid (including a Credit Bid) submitted by, or on behalf of, the
                      Senior Secured Lenders as a Qualified Bid, (D) the status of the Senior
                      Secured Lenders and/or any person or entity submitting a Bid (including a
                      Credit Bid) on their behalf (including any agent or other representative for
                      the Senior Secured Lenders) as a Qualified Bidder, an Acceptable Bidder or
                      a Secured Party, or (E) the consultation rights of, or the rights to receive
                      information or documents by, the Consultation Parties, or (xii) this proviso.
                      All such modifications and additional rules will be communicated to each
                      of the Acceptable Bidders and Qualified Bidders in advance to the extent
                      reasonably practicable; provided that, to the extent such modifications occur
                      at the Auction (if held), disclosure of such modifications shall be limited to
                      those in attendance at the Auction.

       The Auction shall include open bidding in the presence of all other Qualified Bidders. All
Qualified Bidders shall have the right to submit additional Bids and make modifications to any
prior Qualified Bid or Overbid at the Auction to improve their Bids; provided that any such

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additional Bid, modified prior Qualified Bid, or Overbid made by a Qualified Bidder (including
with respect to any Backup Bid) must remain open and binding on the Qualified Bidder until the
earlier of (a) the closing of a Sale for the Assets covered by such Bid pursuant to the Successful
Bid and (b) ninety (90) days after the date of the entry of the Sale Order for such Bid. The Debtors
may, in their reasonable business judgment, in consultation with the Consultation Parties, negotiate
with any and all Qualified Bidders participating in the Auction.

C. Adjournment of the Auction.

         The Debtors reserve the right, in their reasonable discretion, in consultation with the
Consultation Parties, to adjourn the Auction (if held) one or more times to, among other things,
(i) facilitate discussions between the Debtors and Qualified Bidders, (ii) allow Qualified Bidders
to consider how they wish to proceed, and (iii) provide Qualified Bidders the opportunity to
provide the Debtors with such additional evidence as the Debtors, in their reasonable business
judgment, in consultation with the Consultation Parties, may require to prove that the Qualified
Bidder has sufficient internal resources or has received sufficient non-contingent debt or equity
funding commitments to consummate the proposed Sale at the Purchase Price set forth in such
Qualified Bidder’s prevailing Bid.

D. Successful Bidder.

        Immediately prior to the conclusion of any Auction (if held), the Debtors shall
(a) determine, consistent with these Bidding Procedures and in their reasonable business judgment,
in consultation with the Consultation Parties, which Bid, or combination of Bids, constitutes the
highest or otherwise best Bid for the applicable Assets (each such Bid, a “Successful Bid”); and
(b) notify all Qualified Bidders at the Auction (if held) of the identity of the Qualified Bidder(s)
that submitted the Successful Bid (such Qualified Bidder, the “Successful Bidder”) and the
Purchase Price and other material terms of the Successful Bid. As a condition to remaining the
Successful Bidder, any Successful Bidder shall be required to wire to the Debtors in immediately
available funds the Incremental Deposit Amount, if applicable, calculated based on the cash
component of the Purchase Price of the Successful Bid, no later than one (1) Business Day
following the date on which the Auction is concluded.

        Anything in these Bidding Procedures to the contrary notwithstanding, no Qualified Bid
(other than any Bid (including a Credit Bid) submitted by, or on behalf of, the Senior Secured
Lenders) may be the Successful Bid or the Backup Bid, unless such Qualified Bid (a) provides for
payment of cash consideration at the closing of the Sale contemplated by such Qualified Bid in an
amount equal to or greater than the sum of (i) all of the First Lien Claims, (ii) all of the ABL
Claims, and (iii) all of the DIP Claims, in each case, including any fees, premiums and accrued but
unpaid interest (including postpetition interest at the default contract rate, if applicable) on any of
such Claims, and (b) otherwise constitutes a Sufficient Bid.

         The Debtors shall file a notice identifying the Successful Bidder and Backup Bidder
(if selected) (such notice, the “Notice of Winning Bidder”) as soon as reasonably practicable after
closing the Auction, if any, and in any event not more than twenty-four (24) hours following
closing the Auction. The Debtors shall not consider any Bids or Overbids submitted after the



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 Auction has closed, and any and all Bids or Overbids submitted after the conclusion of the Auction
 shall be deemed untimely and shall under no circumstances constitute a Bid or Overbid.

VIII.   BACKUP BIDDER.

         Notwithstanding anything in these Bidding Procedures to the contrary, if an Auction is
 conducted, the Qualified Bidder with the next-highest or otherwise second-best Qualified Bid as
 compared to the Successful Bid at the Auction, as determined by the Debtors in the exercise of
 their reasonable business judgment, in consultation with the Consultation Parties (the “Backup
 Bid”), shall be required to serve as a backup bidder (the “Backup Bidder”), and each Qualified
 Bidder shall agree and be deemed to agree to be the Backup Bidder if so designated. As a condition
 to remaining the Backup Bidder, any Backup Bidder shall wire to the Debtors, in immediately
 available funds, its Incremental Deposit Amount, if applicable, no later than one (1) Business Day
 following the date on which the Notice of Winning Bidder is served.

         The identity of the Backup Bidder and the amount and material terms of the Qualified Bid
 of the Backup Bidder shall be announced by the Debtors at the conclusion of any Auction (if held)
 at the same time the Debtors announce the identity of the Successful Bidder.

        The Backup Bid(s) shall remain binding on the Backup Bidder until the earlier of (a) the
 closing of the Sale contemplated by the Successful Bid with the Successful Bidder, and (b) ninety
 (90) days after the date of the entry of the Sale Order applicable to such Backup Bid. If a
 Successful Bidder fails to consummate the Sale contemplated by its Successful Bid, the Debtors
 may select the Backup Bidder as the Successful Bidder, and such Backup Bidder shall be deemed
 a Successful Bidder for all purposes.

         The Debtors will be authorized, but not required, to consummate all transactions
 contemplated by the Backup Bid of a Backup Bidder without further order of the Court or notice
 to any party.

         Anything in these Bidding Procedures to the contrary notwithstanding, if the Bid (including
 a Credit Bid) submitted by or on behalf of the Senior Secured Lenders (including any agent or
 other representative for the Senior Secured Lenders) is (a) the Successful Bid or (b) the Backup
 Bid (in the event the Successful Bidder fails to consummate the Sale contemplated by its
 Successful Bid), in either such case the Senior Secured Lenders may elect to consummate the
 Successful Bid or the Backup Bid, as applicable, through the Plan Transaction in accordance with
 the terms of the Restructuring Support Agreement; provided that, to the extent any portion of the
 Successful Bid or the Backup Bid submitted by or on behalf of the Senior Secured Lenders
 (including any agent or other representative for the Senior Secured Lenders) consists of any
 consideration in excess of the amount of the Senior Secured Lenders’ Credit Bid, then the Plan
 Transaction shall be modified solely to the extent necessary to account for any such excess
 consideration.

 IX.    ACCEPTANCE OF SUCCESSFUL BID.

         The Debtors’ presentation of a particular Qualified Bid to the Court for approval as the
 Successful Bid does not constitute the Debtors’ acceptance of such Qualified Bid. The Debtors
 will be deemed to have accepted a Bid as the Successful Bid only when the Bid has been approved

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 by the Court as the Successful Bid at the Sale Hearing. The Debtors shall seek approval by the
 Court to consummate a Backup Bid solely in the event the applicable Successful Bidder fails to
 close the Sale as provided in the Successful Bid and with all rights reserved against the Successful
 Bidder.

  X.    FREE AND CLEAR OF ANY AND ALL ENCUMBRANCES.

         All rights, title, and interest in and to the Assets or any portion thereof shall be sold free
 and clear of all liens, claims, interests, and encumbrances (if any) (collectively, the
 “Encumbrances”), subject only to the Assumed Liabilities and Permitted Liens (each as defined in
 the Successful Bidder’s purchase agreement), if any, in accordance with Bankruptcy Code section
 363(f), with such Encumbrances to attach to the net proceeds (if any) received by the Debtors from
 the Sale of the Assets in accordance with the Bankruptcy Code, applicable non-bankruptcy law,
 and any prior orders of the Court.

 XI.    ASSUMPTION AND ASSIGNMENT PROCEDURES.

          The procedures for assuming and assigning Assigned Contracts to the Successful Bidder
 are set forth in the Bidding Procedures Order.

XII.    NOTICE PARTIES.

         The term “Notice Parties” as used in these Bidding Procedures shall mean (i) the
 Consenting First Lien Lenders and their counsel; (ii) the U.S. Trustee for the District of Delaware;
 and (iii) if appointed, counsel to the official committee of unsecured creditors in the Chapter 11
 Cases (the “Committee”).

XIII.   CONSULTATION BY THE DEBTORS.

        The Debtors shall consult with the Ad Hoc Group Advisors (the “Consultation
 Parties” and each, a “Consultation Party”) as explicitly provided for in these Bidding
 Procedures. Each reference in these Bidding Procedures to “consultation” (or similar word)
 shall mean consultation in good faith.

        Notwithstanding anything to the contrary herein, during any period in which a
 Consenting First Lien Lender that is represented by the Ad Hoc Group Advisors or any
 person or entity acting on behalf of any such Consenting First Lien Lender, in each case, in
 its capacity as such, has submitted a Qualified Bid and has become a Qualified Bidder
 hereunder, the Debtors shall not be required to consult with any Consultation Party, unless
 and until such Consenting First Lien Lender, or any person or entity acting on behalf of such
 Consenting First Lien Lender, in each case, in its capacity as such, unequivocally revokes its
 Bid and waives its right to continue to make Bids in the Auction process (if held).

XIV.    RESERVATION OF RIGHTS.

         Except as otherwise provided in these Bidding Procedures (including, without
 limitation, the first proviso in Number 10 in Article VII.B. and the proviso in the second
 paragraph of Article XIX), the Debtors reserve the right, in their reasonable business

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 judgment, after consultation with the Consultation Parties, and subject to the Restructuring
 Support Agreement, to make modifications to these Bidding Procedures in good faith and in
 a manner consistent with their fiduciary duties to further the goal of attaining the highest or
 otherwise best offer for the Assets or impose, at or prior to the selection of any Successful
 Bidder, additional customary terms and conditions on the Sale, including, without limitation:
 (a) extending the dates and deadlines set forth in these Bidding Procedures (including, but
 not limited to, those set forth in Section II hereof); (b) adjourning the Auction (if held)
 without further notice; (c) adding or modifying procedural rules that are reasonably
 necessary or advisable under the circumstances for conducting the Auction, and/or
 adjourning the Sale Hearing in open court (if held); (d) rejecting any or all Bids or Qualified
 Bids; (e) adjusting the applicable minimum Overbid increment; and (f) selecting a draft
 purchase agreement agreed to by a Qualified Bidder in connection with a Qualified Bid to
 serve as the purchase agreement that will be executed by the Successful Bidder or Successful
 Bidders, as applicable and with any necessary adjustments for the Assets and Liabilities
 being purchased and assumed, upon conclusion of the Auction, if held. The Debtors shall
 provide reasonable notice of any such modification to all Qualified Bidders.

XV.     CONSENT TO JURISDICTION.

        All Potential Bidders, Acceptable Bidders, and Qualified Bidders shall be deemed to have
 consented to the exclusive jurisdiction of the Court and waived any right to a jury trial in
 connection with any disputes relating to the Auction, the construction and enforcement of these
 Bidding Procedures, and/or the Asset Sale Bid Documents.

XVI.    SALE HEARING.

         A hearing to consider approval of the sale of the Assets (or any portion thereof) to any
 Successful Bidder or Backup Bidder (if applicable) (the “Sale Hearing”) shall be scheduled to take
 place on either (i) January 30, 2025, at [●] a.m./p.m. (prevailing Eastern Time), or the soonest
 date the Court is available thereafter, if no Auction is held, or (ii) February 3, 2025, at [●]
 a.m./p.m. (prevailing Eastern Time), or the soonest date the Court is available thereafter, if an
 Auction is held. The Sale Hearing shall be before the Honorable John T. Dorsey, in the United
 States Court for the District of Delaware, 824 North Market Street, Wilmington, DE 19801, 5th
 Floor, Courtroom 5.

        The Sale Hearing may be continued to a later date by the Debtors by sending notice
 prior to, or making an announcement at, the Sale Hearing. No further notice of any such
 continuance will be required to be provided to any party.

         At the Sale Hearing, the Successful Bidder and the Backup Bidder must acknowledge on
 the record at the start of the hearing that in connection with submitting their Bids, they did not
 engage in any collusion that would be subject to section 363(n) of the Bankruptcy Code with
 respect to any Bids, the Auction (if held), or the Sale, specifying that they did not agree with any
 Potential Bidders, Acceptable Bidders, or Qualified Bidders to control the price or any other terms
 of the Sale.




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          If an Auction is held, objections to (i) the Sale of any Assets free and clear of liens, claims,
  interests, and encumbrances pursuant to section 363(f) of the Bankruptcy Code to any Successful
  Bidder and/or Backup Bidder, as applicable, (ii) any of the relief requested in the Bidding
  Procedures Motion, and (iii) entry of any order approving the Sale, must (w) be in writing and
  specify the nature of such objection; (x) comply with the Bankruptcy Code, Bankruptcy Rules,
  Local Rules, and all orders of the Court; (y) state with particularity the legal and factual basis for
  the objection and the specific grounds therefor; and (z) be filed with the Court and served on the
  Objection Notice Parties (as such term is defined in the Bidding Procedures Order) so as to be
  actually received no later 4:00 p.m. (prevailing Eastern Time) on January 30, 2025.

XVII.    FIDUCIARY OUT AND RESTRUCTURING SUPPORT AGREEMENT.

          Nothing in these Bidding Procedures will require a Debtor, the board of directors, board of
  managers, or such similar governing body of a Debtor, after consulting with outside counsel, to
  take any action or to refrain from taking any action (including with respect to these Bidding
  Procedures or the Sale) to the extent, upon advice of counsel, such board of directors, board of
  managers, or such similar governing body determines, in good faith, that taking or failing to take
  such action would be inconsistent with applicable law or its fiduciary obligations under applicable
  law; provided that, in any such case where any Debtor, board of directors, board of managers, or
  such similar governing body makes any such determination, the Debtors shall be required to
  comply with Section 8.01 of the Restructuring Support Agreement. Notwithstanding the foregoing
  or anything in these Bidding Procedures to the contrary notwithstanding, if any Debtor or board
  of directors, board of managers, or similar governing body of any Debtor takes any action or
  refrains from taking any action as a result of any such determination described in the immediately
  preceding sentence, (i) none of the Consenting First Lien Lenders shall be deemed to have
  consented or approved any such action or inaction (including, without limitation, any consent
  referred to in section 363(f) of the Bankruptcy Code), (ii) such action or inaction shall not amend,
  supplement, waive or otherwise modify, or be deemed or construed to have amended,
  supplemented, waived or otherwise modified, any of the terms, conditions, milestones, covenants,
  termination events, termination rights or other provisions in the Restructuring Support Agreement,
  and (iii) the Debtors and/or the Consenting First Lien Lenders shall be entitled to exercise all of
  their respective rights and remedies under or relating to the Restructuring Support Agreement,
  including, without limitation, the right of the Debtors and/or the Required Consenting First Lien
  Lenders to terminate the Restructuring Support Agreement.

XVIII.   RETURN OF DEPOSIT.

          The Deposit (including any Incremental Deposit Amount) of each Successful Bidder shall
  be applied to the Purchase Price of the applicable Sale(s) at closing. The Deposits (including any
  Incremental Deposit Amount) for each Qualified Bidder shall be held in one or more escrow
  accounts on terms acceptable to the Debtors, in their sole discretion, and shall be returned to the
  applicable Qualified Bidder (other than the Successful Bidder and the Backup Bidder) on or before
  the date that is five (5) Business Days after the Auction, if held, or, if no Auction is held, on the
  date of entry of the applicable Sale Order. Any Backup Bidder’s Deposit (including any
  Incremental Deposit Amount) shall be held in escrow until the closing of the Sale with the
  Successful Bidder, whereupon it will be returned to the Backup Bidder. In the event the Debtors
  and Successful Bidder fail to consummate the Sale set forth in the Successful Bid and the Debtors

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 opt to pursue the Sale set forth in the applicable Backup Bid, the Backup Bidder’s Deposit
 (including any Incremental Deposit Amount) shall be applied to the Purchase Price of such Sale
 at closing of the Sale with the Backup Bidder. In the event of a breach or failure to consummate
 a Sale by the Successful Bidder or the Backup Bidder, as applicable, the defaulting Successful
 Bidder’s Deposit (including any Incremental Deposit Amount) or Backup Bidder’s Deposit
 (including any Incremental Deposit Amount), as applicable, shall be forfeited to the Debtors, and
 the Debtors specifically reserve the right to seek all available remedies against the defaulting
 Successful Bidder or Backup Bidder, as applicable, subject to the terms of the Successful Bidder’s
 purchase agreement or the Backup Bidder’s purchase agreement, as applicable.

XIX.     RESTRUCTURING SUPPORT AGREEMENT.

         Anything in these Bidding Procedures to the contrary notwithstanding, nothing in these
 Bidding Procedures (including, without limitation, (i) any consultation rights of the Consultation
 Parties, (ii) any right of the Debtors with respect to the acceptance or approval of any agreements,
 documents, information, Bids, or actions, (iii) any right of the Debtors to make decisions,
 determinations or judgments with respect to the matters contemplated by these Bidding
 Procedures, (iv) any right of the Debtors to amend or modify these Bidding Procedures, and (v) the
 exercise of any of the foregoing rights) amends, supplements, waives or otherwise modifies, or
 shall be deemed or construed to have amended, supplemented, waived or otherwise modified, any
 of the terms, conditions, milestones, covenants, termination events, termination rights or other
 provisions in the Restructuring Support Agreement, or any of the rights, remedies or privileges of
 the Debtors or the Consenting First Lien Lenders arising under or relating to the Restructuring
 Support Agreement, all of the foregoing shall remain in full force and effect.

          Notwithstanding anything to the contrary herein, if the Restructuring Support Agreement
 is validly terminated in accordance with its terms, the Debtors may amend or modify these Bidding
 Procedures in their sole discretion following any such termination; provided, however, that,
 following any such termination, the Debtors shall not, directly or indirectly, amend or modify any
 of the following (including any of the defined terms used therein) without the consent of the Senior
 Secured Lenders in their sole discretion: (i) the last sentence of the first paragraph of Article III.B.,
 (ii) the proviso in the first sentence in the first paragraph of Article III.C., (iii) the second sentence
 in the first paragraph of Article III.C., (iv) the second paragraph of Article III.C., (v) Number 13
 in Article IV, (vi) the second sentence of Article V, (vii) Article XIII, (viii) clause (i) of the second
 sentence of Article XVII, (ix) the consultation rights of the Consultation Parties, and (x) this
 paragraph.




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                         Exhibit 2

                    Sale Hearing Notice
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                                Debtors.                    (Jointly Administered)

                                                            Ref. Docket No. ___

                       NOTICE OF PROPOSED SALE OF ASSETS,
                 BIDDING PROCEDURES, AUCTION, AND SALE HEARING

        PLEASE TAKE NOTICE that, on November 3, 2024 (the “Petition Date”), Franchise
Group, Inc. and its affiliated debtors and debtors in possession in the above-captioned cases
(collectively, the “Debtors”) each filed a voluntary petition for relief (collectively, these “Chapter
11 Cases”) under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”). The Debtors are seeking to sell (the “Sale”) all or substantially all of
their assets (the “Assets”), free and clear of all liens, claims, interests, and encumbrances, except
as may be provided in any applicable Sale Order. 2



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     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
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     Capitalized terms used but not otherwise defined herein shall have the meanings given to them in, as applicable,
     the Bidding Procedures or Bidding Procedures Order (each as defined below).
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        PLEASE TAKE FURTHER NOTICE that, by order dated [●], 2024 [Docket No. [●]]
(the “Bidding Procedures Order”), the Bankruptcy Court approved certain “Bidding Procedures”
that govern the Sale. All interested parties should carefully read the Bidding Procedures Order
and the Bidding Procedures. Copies of the Bidding Procedures Order, the Bidding Procedures
(which are attached to the Bidding Procedures Order as Exhibit 1), and all related pleadings filed
in these Chapter 11 Cases are available for download at https://cases.ra.kroll.com/FRG, or upon
request to the Debtors’ claims and noticing agent, Kroll Restructuring Administration LLC, via
telephone at (844) 285-4564 (U.S./Canada) or +1 (646) 937-7751 (International), or via email at
FRGinfo@ra.kroll.com.

       PLEASE TAKE NOTICE that a separate notice will be provided to counterparties to the
Debtors’ executory contracts and unexpired leases, which may be assumed and assigned in
connection with the Sale. Any interested bidder should contact Christopher Grubb
(cgrubb@ducerapartners.com) and Kishan Patel (kpatel@ducerapartners.com) of Ducera
Partners LLC, the Debtors’ investment banking advisor.

•      The deadline for the submission of Qualified Bids is January 23, 2025 at 5:00 p.m. (ET).

•      Any objections to the Sale or the relief requested in connection with the Sale (a “Sale
       Objection”), other than a Cure Objection, which shall be governed by the Assumption
       Procedures, must: (a) be in writing; (b) comply with the Bankruptcy Rules and the Local
       Rules; (c) set forth the specific basis for the Sale Objection; (d) be filed with the Clerk of
       the Court, 824 N. Market Street, 3rd Floor, Wilmington, DE 19801 on or before 4:00 p.m.
       (ET) on [●](the “Sale Objection Deadline”); and (e) be served upon the Objection Notice
       Parties. The “Objection Notice Parties” are as follows: are as follows: (i) counsel to the
       Debtors, Willkie Farr & Gallagher LLP, 787 Seventh Avenue, New York, NY 10019, Attn:
       Debra M. Sinclair, Esq. (dsinclair@willkie.com), Matthew A. Feldman, Esq. (email:
       mfeldman@willkie.com), and Betsy L. Feldman, Esq. (bfeldman@willkie.com);
       (ii) co-counsel to the Debtors, Young Conaway Stargatt and Taylor, LLP, 1000 North King
       Street, Wilmington, DE, 19801, Attn: Edmon L. Morton (emorton@ycst.com), Matthew
       B. Lunn (mlunn@ycst.com), and Allison S. Mielke (amielke@ycst.com); (iii) the Office
       of the United States Trustee for the District of Delaware, J. Caleb Boggs Federal Building,
       844 King Street, Room 2207, Wilmington, DE 19801, Attn: Timothy J. Fox
       (timothy.fox@usdoj.gov); (iv) proposed counsel to the Committee (if appointed),
       (v) counsel to the DIP Lenders and Ad Hoc Group of First Lien Secured Lenders, (A) Paul
       Hastings LLP, 200 Park Avenue, New York, NY 10166, Attn: Jayme Goldstein, Esq.
       (jaymegoldstein@paulhastings.com),                  Jeremy             Evans,             Esq.
       (jeremyevans@paulhastings.com),               and         Isaac          Sasson,          Esq.
       (isaacsasson@paulhastings.com), and (B) Landis Rath & Cobb LLP, 919 N. Market Street
       Suite 1800, Wilmington, DE 19317, Attn: Adam G. Landis, Esq. (landis@lrclaw.com) and
       Matthew McGuire, Esq. (mcguire@lrclaw.com); (vi) counsel to the ABL Secured Parties,
       Latham & Watkins LLP, 1271 Avenue of the Americas, New York, NY 10020, Attn:
       Jennifer    Ezring,      Esq.     (Jennifer.Ezring@lw.com),       James      Ktsanes,     Esq.
       (James.Ktsanes@lw.com) and Andrew Sorkin, Esq. (andrew.sorkin@lw.com);
       (vii) counsel to the Second Lien Secured Parties, White & Case LLP, 200 S Biscayne Blvd,
       Miami, FL 33131, Attn: Thomas Lauria, Esq. (tlauria@whitecase.com), and 111 S. Wacker
       Dr., Suite 5100, Chicago, IL 60606, Attn:                           Bojan Guzina, Esq.


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    (bojan.guzina@whitecase.com); and (viii) counsel to the HoldCo Lenders at the address
    set forth in (vii) above).

•   Any counterparty that wishes to obtain adequate assurance information regarding bidders
    that will or may participate at the Auction (defined below) must notify, in writing, the
    proposed counsel to the Debtors: Willkie Farr & Gallagher LLP, 787 Seventh Avenue,
    New York, NY 10019, Attn: Debra M. Sinclair, Esq. (dsinclair@willkie.com), Betsy L.
    Feldman, Esq. (bfeldman@willkie.com), Joseph R. Brandt, Esq. (jbrandt@willkie.com),
    and Jessica D. Graber, Esq. (jgraber@willkie.com) (the “Request for Adequate
    Assurance”). The Request for Adequate Assurance must include an e-mail or address to
    which a response to such information request can be sent.

•   An auction for the Assets, unless cancelled or adjourned in accordance with the Bidding
    Procedures Order, will be held on January 28, 2025 at 10:00 a.m. (ET) (the “Auction”),
    either (i) via a virtual meeting, (ii) at the offices of Willkie Farr & Gallagher LLP, 787
    Seventh Avenue, New York, NY 10019, or (iii) at such later date, time, and location as
    designated by the Debtors, after providing notice to the Notice Parties and the Consultation
    Parties (each as defined in the Bidding Procedures Order).

•   If the Auction is held, the Debtors shall file a reply to any Sale Objections and/or Cure
    Objections by February 2, 2025 at 12:00 p.m. (ET), and the Sale Hearing shall take place
    on February 3, 2025 at [●] [a.m./p.m.] (ET) subject to availability of the Court.

•   If no Auction is held, the Debtors shall file a reply to any Sale Objections and/or Cure
    Objections by January 28, 2025 at 12:00 p.m. (ET), and the Sale Hearing shall take place
    on January 30, 2025 at [●] [a.m./p.m.] (ET) subject to availability of the Court.


     PLEASE TAKE FURTHER NOTICE THAT IF A SALE OBJECTION IS NOT
FILED AND SERVED ON OR BEFORE THE SALE OBJECTION DEADLINE IN
ACCORDANCE WITH THE BIDDING PROCEDURES ORDER, THE OBJECTING
PARTY MAY BE BARRED FROM OBJECTING TO THE SALE AND BEING HEARD
AT THE SALE HEARING, AND THE BANKRUPTCY COURT MAY ENTER THE SALE
ORDER WITHOUT FURTHER NOTICE TO SUCH PARTY.




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                         Exhibit 3

             Assumption and Assignment Notice
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                               Debtors.                     (Jointly Administered)

                                                            Ref. Docket No. ___

     NOTICE OF POSSIBLE ASSUMPTION AND ASSIGNMENT AND CURE COSTS
      WITH RESPECT TO EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         PLEASE TAKE NOTICE THAT:

       On November 3, 2024, Franchise Group, Inc. and its affiliated debtors and debtors in
possession in the above-captioned cases (the “Debtors”) filed voluntary petitions (collectively, the
“Chapter 11 Cases”) for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C.
§§ 101–1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
Delaware (the “Court”).

       The Debtors may seek to assume and assign certain of their executory contracts and
unexpired leases in connection with the sale or disposition (the “Sale”) of substantially all of the




1
     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
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Debtors’ assets (collectively, the “Assets”), 2 free and clear of all liens, claims, encumbrances, and
other interests pursuant to section 363 of the Bankruptcy Code.

        By order dated [●], 2024 [Docket No. ●] (the “Bidding Procedures Order”), 3 the Court
established certain procedures that govern the assumption and assignment of the Debtors’
executory contracts and unexpired leases in connection with the Sale, and certain “Bidding
Procedures” that govern the sale of the Assets to the highest or otherwise best bidder(s). Copies
of the Bidding Procedures Order, the Bidding Procedures, and any related pleadings filed in these
Chapter 11 Cases are available for download at https://cases.ra.kroll.com/FRG, or from the
Debtors’ claims and noticing agent, Kroll Restructuring Administration LLC, via telephone at
(844) 285-4564 (U.S./Canada) or (646) 937-7751 (International), or via email at
FRGinfo@ra.kroll.com.

       You are receiving this notice (the “Cure Notice”) because you may be a party to an
unexpired lease or an executory contract (including, without limitation, any and all amendments,
modifications, side letters, memoranda of understanding, documents incorporated by reference,
attachments, and exhibits thereto) (a “Contract”) that may be assumed and assigned in connection
with such Sale (such assumed and assigned contact, an “Assigned Contract”). A list of the
Contracts is attached hereto as Exhibit A (the “Cure Schedule”).

        The Debtors have conducted a review of their books and records and have determined that
all unpaid monetary obligations under the Contracts, as of the date of this Cure Notice, are as set
forth in the Cure Schedule (the “Cure Costs”). To the extent that the Debtors satisfy any portion
of the Cure Costs subsequent to the filing of this Cure Notice, the Cure Costs shall be reduced
accordingly. The Cure Costs are the only amounts proposed to be paid upon any assumption and
assignment of the Assigned Contracts, in full satisfaction of all amounts outstanding under the
Assigned Contracts.

       To the extent that a counterparty to a Contract objects to (i) the possible assumption
and assignment of such party’s Contract or (ii) the applicable Cure Cost, the counterparty
must file and serve an objection (a “Cure Objection”).

       Any Cure Objection shall: (i) be in writing, (ii) comply with the applicable provisions
of the Bankruptcy Code, Bankruptcy Rules, and the Local Rules, (iii) state with specificity
the nature of the objection and, if the objection pertains to the proposed Cure Cost, the
correct cure amount alleged by the objecting counterparty, together with any applicable and
appropriate documentation in support thereof, (iv) be filed with the Clerk of the Court, 824
N. Market Street, 3rd Floor, Wilmington, DE 19801 on or before 4:00 p.m. (ET) on [●], 2024
(the “Cure Objection Deadline”); and (v) be served upon the Objection Notice Parties (as
defined below). For the avoidance of doubt, a timely filed and properly served Cure
Objection will reserve the counterparty’s rights relating to the Contract, but will not be


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    The Debtors are simultaneously pursuing store closing sales with respect to their American Freight business
    pursuant to the Interim Order (I) Authorizing the Debtors to Assume the Consulting Agreement, (II) Approving
    Procedures for Store Closing Sales, and (III) Granting Related Relief. The term “Assets,” as used herein, does
    not refer to any assets, contracts or interests subject to the American Freight store closing sales.
3
    Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Bidding
    Procedures Order (as defined below).

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deemed to constitute an objection to the relief generally requested in the Motion with respect
to the approval of the Sale.

        All parties-in-interest shall have an opportunity to object to the conduct of the
Auction (if an Auction is held) and counterparties to Assigned Contracts shall have an
opportunity to object to the adequate assurance of future performance under Assigned
Contracts (if any). Any such objection must (i) be in writing and state, with specificity, the legal
and factual bases thereof and include any appropriate documentation in support thereof; and (ii) be
filed with the Court and served on the Objection Notice Parties (as defined below) by no later than
(a) 4:00 p.m. on January 30, 2025 (prevailing Eastern Time), if an Auction is held, or
(b) twenty-four (24) hours following publication of the Notice of Successful Bidder, if no
Auction is held, but a Successful Bidder is named.

        The “Objection Notice Parties” are as follows: (i) counsel to the Debtors, Willkie Farr &
Gallagher LLP, 787 Seventh Avenue, New York, NY 10019, Attn: Debra M. Sinclair, Esq.
(dsinclair@willkie.com), Matthew A. Feldman, Esq. (email: mfeldman@willkie.com), and Betsy
L. Feldman, Esq. (bfeldman@willkie.com); (ii) co-counsel to the Debtors, Young Conaway
Stargatt and Taylor, LLP, 1000 North King Street, Wilmington, DE, 19801, Attn: Edmon L.
Morton, Esq. (emorton@ycst.com), Matthew B. Lunn, Esq. (mlunn@ycst.com), and Allison S.
Mielke, Esq. (amielke@ycst.com); (ii) the Office of the United States Trustee for the District of
Delaware, J. Caleb Boggs Federal Building, 844 King Street, Room 2207, Wilmington, DE 19801,
Attn: Timothy J. Fox (timothy.fox@usdoj.gov); (iv) proposed counsel to the Committee (if
appointed), (v) counsel to the DIP Lenders and Ad Hoc Group of First Lien Secured Lenders,
(a) Paul Hastings LLP, 200 Park Avenue, New York, NY 10166, Attn: Jayme Goldstein, Esq.
(jaymegoldstein@paulhastings.com), Jeremy Evans, Esq. (jeremyevans@paulhastings.com), and
Isaac Sasson, Esq. (isaacsasson@paulhastings.com), and (b) Landis Rath & Cobb LLP, 919 N.
Market Street Suite 1800, Wilmington, DE 19317, Attn: Adam G. Landis, Esq.
(landis@lrclaw.com) and Matthew McGuire, Esq. (mcguire@lrclaw.com); (vi) counsel to the
ABL Secured Parties, Latham & Watkins LLP, 1271 Avenue of the Americas, New York, NY
10020, Attn: Jennifer Ezring, Esq. (Jennifer.Ezring@lw.com), James Ktsanes, Esq.
(James.Ktsanes@lw.com) and Andrew Sorkin, Esq. (andrew.sorkin@lw.com); (vii) counsel to the
Second Lien Secured Parties, White & Case LLP, 200 S Biscayne Blvd, Miami, FL 33131, Attn:
Thomas Lauria, Esq. (tlauria@whitecase.com), and 111 S. Wacker Dr., Suite 5100, Chicago, IL
60606, Attn: Bojan Guzina, Esq. (bojan.guzina@whitecase.com); and (viii) counsel to the HoldCo
Lenders at the address set forth in (vii) above.

        If a Cure Objection or an objection to the proposed assumption and assignment of a
Contract or Assigned Contract is not timely received with respect to a Contract or Assigned
Contract: (i) the counterparty to such Assigned Contract shall be deemed to have consented
to the assumption by the Debtors and assignment to the Successful Bidder, if any; (ii) any
and all defaults under the Assigned Contract and any and all pecuniary losses related thereto
shall be deemed cured and compensated pursuant to section 365(b)(1)(A) and (B) of the
Bankruptcy Code upon assumption and assignment of the Assigned Contract and payment
of the Cure Cost; and (iii) the Cure Cost for such Contract or Assigned Contract shall be
controlling, notwithstanding anything to the contrary in such Contract or Assigned
Contract, or any other related document, and the counterparty shall be deemed to have
consented to the Cure Cost and shall be forever barred from asserting any other claims


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related to such Contract or Assigned Contract against the Debtors and their estates or the
Successful Bidder (if any), or the property of any of them, to the extent such claim existed
prior to the entry of the Sale Order.

       Any party failing to timely object to the conduct of the Auction or adequate assurance
of future performance under Assigned Contracts shall be deemed to have consented to the
assumption, assignment, and/or transfer of the applicable Assigned Contract to the proposed
assignee, and shall be forever barred and estopped from asserting or claiming that any
conditions to such assumption, assignment, and/or transfer must be satisfied under such
applicable Assigned Contract or that any related right or benefit under such applicable
Assigned Contract cannot or will not be available to the proposed assignee.

         Subject to the terms of the Bidding Procedures Order, an auction (the “Auction”) for the
Assets, including the Assigned Contracts, may be held on January 28, 2025 at 10:00 a.m. (ET),
either (i) via a virtual meeting, (ii) at the offices of Willkie Farr & Gallagher LLP, 787 Seventh
Avenue, New York, NY 10019, or (iii) at such later date, time, and location as designated by the
Debtors, after providing notice to the Notice Parties (as defined in the Bidding Procedures Order).
If held, following the Auction, the Debtors will file and serve a notice that identifies the Successful
Bidder for the Assets.

       The Debtors will seek to assume and assign the Assigned Contracts that have been
selected by the Successful Bidder at a hearing before the Honorable John T. Dorsey, in the
United States Court for the District of Delaware, 824 North Market Street, Wilmington, DE
19801, 5th Floor, Courtroom 5, (a “Sale Hearing”) on either (i) January 30, 2025, at [●]
a.m./p.m. (prevailing Eastern Time), or the soonest date the Court is available thereafter, if
no Auction is held, or (ii) February 3, 2025, at [●] a.m./p.m. (prevailing Eastern Time), or
the soonest date the Court is available thereafter, if an Auction is held, or such other date as
determined by the Debtors in accordance with the terms of the Bidding Procedures Order,
subject to the Court’s availability.

        In the event that a non-Debtor contract counterparty files a timely Cure Objection and the
Debtors and such counterparty cannot resolve such objection, the objection shall be heard at the
Sale Hearing or such later date that the Debtors determine, subject to the Court’s calendar;
provided, however, that (i) any Assigned Contract that is the subject of a Cure Objection with
respect solely to the amount of the Cure Cost may be assumed and assigned prior to resolution of
such objection, (ii) the Debtors, in consultation with the parties to any Contract that is subject to a
Cure Objection, may adjourn a Cure Objection, and (iii) the Successful Bidder (if any) shall pay
any undisputed Cure Cost in accordance with the terms of its asset purchase agreement with the
Debtors on or before the Sale Closing and shall appropriately reserve funding for the disputed
portion of the Cure Costs.

        If such objection has not been resolved prior to the Sale Closing (whether by an order of
the Court or by agreement with the counterparty), the Successful Bidder (if any) may elect, in its
sole discretion, to: (x) treat such counterparty’s Contract (the “Disputed Contract”) as an excluded
Contract (pursuant to the terms of the Successful Bidder’s asset purchase agreement with the
Debtors) or (y) temporarily treat such counterparty’s Contract as an excluded Contract, proceed to
the Sale Closing, and determine whether to treat the Disputed Contract as an Assigned Contract or

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an excluded Contract within five (5) business days after resolution of such objection (whether by
order of the Court or by agreement with the counterparty).


                         [Remainder of Page Left Intentionally Blank]




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Dated: [ ], 2024
       Wilmington, Delaware


                                YOUNG CONAWAY STARGATT & TAYLOR,
                                LLP

                                /s/
                                Edmon L. Morton (Del. No. 3856)
                                Matthew B. Lunn (Del. No. 4119)
                                Allison S. Mielke (Del. No. 5934)
                                Shella Borovinskaya (Del. No. 6758)
                                Rodney Square
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                                -and-

                                WILLKIE FARR & GALLAGHER LLP
                                Debra M. Sinclair (admitted pro hac vice)
                                Matthew A. Feldman (admitted pro hac vice)
                                Betsy L. Feldman (Del. No. 6410)
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                                dsinclair@willkie.com
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                                Proposed Co-Counsel to the Debtors and Debtors in
                                Possession




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                         Exhibit A

                      Cure Schedule

                        [To Come]
